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                              IN THE
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

Paragould Light & Water Commission             )
(d/b/a – Paragould Light, Water &              )
Cable – PLWC); City of Poplar Bluff            )
Municipal Utilities; Kennett Board of          )
Public Works; City of Piggott-AR               )
Municipal Light Water and Sewer; City          )
of Malden - Board of Public Works;             )
Evergy Kansas Central, Inc.;                   )
Evergy Metro, Inc.; Evergy Missouri West, )
Inc.; American Electric Power Service          )
Corporation on behalf of its affiliates Public )
Service Company of Oklahoma and                )          No. 23-1133
Southwestern Electric Power Company;           )
Xcel Energy Services Inc. on behalf of its )
operating company affiliate Southwestern )
Public Service Company; Western Farmers )
Electric Cooperative,                          )
                                               )
                   Petitioners,                )
                                               )
                   v.                          )
                                               )
Federal Energy Regulatory Commission,          )
                                               )
                   Respondent.                 )

                     AMENDED PETITION FOR REVIEW

      Petitioners file this Amended Petition for Review to add FERC’s newly-

amended order to their original petition.




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      On May 22, 2023, Petitioners filed their original Petition for Review in this

case (No. 23-1133). That Petition listed these Commission orders as those to be

reviewed:

      1. Southwest Power Pool, Inc., Order on Initial Decision, Docket No.
         ER18-99-005, 182 FERC ¶ 61,141 (Feb. 28, 2023) (“Order”)

      2. Southwest Power Pool, Inc., Notice of Denial of Rehearing by Operation
         of Law and Providing for Further Consideration, Docket No. ER18-99-
         007, 183 FERC ¶ 62,048 (May 1, 2023).

      All initial filings were timely made. The Commission moved for, and

received, a 30-day extension of time to file its certified index to the record, which

is now due August 9. Order Granting Motion to Extend Time, Dkt. 2005200 (June

27, 2023).

      On July 5, 2023, the Commission issued an order amending and modifying

its February 28, 2023 Order. The amended order reaches the same conclusion and

modifies some of the reasoning in the February 28 Order.

      Petitioners understand that under Sierra Club v. FERC, 68 F.4th 630, 646

(D.C. Cir. 2023), they are “under no obligation to file a new petition for review

challenging [this] additional order.” Properly viewed, the latest order is “an

amendment” to the February 28 Order specified in the earlier petition. Id. Even

so, to make clear that Petitioners “intend to seek review not only of the [February

28 Order and May 1 Notice] but also of any amendment to it,” Petitioners hereby

amend their Petition for Review to add the following order (also attached):

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      3. Southwest Power Pool, Inc., Order Addressing Arguments Raised on
         Rehearing, Docket No. ER18-99-007, 184 FERC ¶ 61,004 (July 5, 2023).

      All other statements in the initial Petition for Review remain correct and

adequate.



Dated: July 17, 2023                         Respectfully submitted,

                                             /s/ Matthew A. Fitzgerald

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 Cable, Paragould Light Commission,          cmobley@mcguirewoods.com
 Poplar Bluff Municipal Utilities, Kennett
 Board of Public Works, City of Piggott    Patrick Smith
 Municipal Light Water & Sewer, and City Corporate Counsel
 of Malden Board of Public Works           THE EVERGY COMPANIES
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                                           T: (785) 575-8362
                                           Patrick.Smith@westarenergy.com

                                             Counsel for the Evergy Companies
                                             and on behalf of all Petitioners

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 Counsel for Western Farmers Electric        Service Corporation, on behalf of its
 Cooperative                                 affiliates, Public Service Company of
                                             Oklahoma and Southwestern Electric
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 Counsel for Xcel Energy Services Inc. on
 behalf of its operating company affiliate
 Southwestern Public Service Company




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                              IN THE
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

Paragould Light & Water Commission             )
(d/b/a – Paragould Light, Water &              )
Cable – PLWC); City of Poplar Bluff            )
Municipal Utilities; Kennett Board of          )
Public Works; City of Piggott-AR               )
Municipal Light Water and Sewer; City          )
of Malden - Board of Public Works;             )
Evergy Kansas Central, Inc.;                   )
Evergy Metro, Inc.; Evergy Missouri West, )
Inc.; American Electric Power Service          )
Corporation on behalf of its affiliates Public )
Service Company of Oklahoma and                )          No. 23-1133
Southwestern Electric Power Company;           )
Xcel Energy Services Inc. on behalf of its )
operating company affiliate Southwestern )
Public Service Company; Western Farmers )
Electric Cooperative,                          )
                                               )
                   Petitioners,                )
                                               )
                   v.                          )
                                               )
Federal Energy Regulatory Commission,          )
                                               )
                   Respondent.                 )

                 CORPORATE DISCLOSURE STATEMENTS

      Under Rule 26.1 of the Federal Rules of Appellate Procedure (“FRAP”) and

D.C. Circuit Rule 26.1, Petitioners hereby submit their respective corporate

disclosure statements. Petitioners represent a broad array of municipal entities and

transmission owners located within the service territory of Southwest Power Pool,



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Inc. (“SPP”) that seek to ensure just and reasonable rates in SPP pricing Zone 10.

Petitioners were active participants in the Commission proceedings in which the

orders subject to review were issued and sought rehearing of the Commission’s

Order. Petitioners and/or the stakeholders they represent are subject to, and will be

affected by, the orders under review.


      CORPORATE DISCLOSURE STATEMENT OF THE EVERGY
                       COMPANIES

      Evergy Kansas Central, Inc.; Evergy Metro, Inc.; and Evergy Missouri West,

Inc. (collectively the “Evergy Companies”), are wholly owned subsidiaries of

Evergy, Inc. (“Evergy”). Evergy is a publicly held company (stock ticker EVRG

on the NASDAQ) incorporated in the state of Missouri. Evergy has no parent

company and no publicly held corporation owns 10% or more of its stock.

      Evergy, through the Evergy Companies, provides electric service at

retail throughout Kansas and Missouri to approximately 1.6 million customers and

provides wholesale service to municipalities and cooperatives that in turn serve

additional Kansas and Missouri retail customers.

                                        /s/ Matthew A. Fitzgerald
                                        MCGUIREWOODS LLP
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CORPORATE DISCLOSURE STATEMENT OF PARAGOULD LIGHT &
WATER COMMISSION (D/B/A PARAGOULD LIGHT, WATER & CABLE
                         – PLWC)

      Paragould Light & Water Commission (d/b/a Paragould Light, Water &

Cable – PLWC) is a municipal entity organized under the laws of the State of

Arkansas. Paragould Light & Water Commission receives electric transmission

service from SPP in SPP pricing Zone 10 and provides wholesale energy supply

and related electricity services to its citizens and businesses in its municipal

territory. Paragould Light & Water Commission is adversely impacted by the rates

established in the orders under review. Paragould Light & Water Commission

issues no stock, has no parent corporation, and is not owned in whole or in part by

any publicly held corporation.



                                               /s/ Kenneth R. Stark
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                                               Harrisburg, PA 17101
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                                               kstark@mcneeslaw.com




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    CORPORATE DISCLOSURE STATEMENT OF CITY OF POPLAR
                BLUFF MUNICIPAL UTILITIES

      City of Poplar Bluff Municipal Utilities is a municipal entity organized

under the laws of the State of Missouri and is under the jurisdiction of the City

Council of the City of Poplar Bluff. City of Poplar Bluff Municipal Utilities

receives electric transmission service from SPP in SPP pricing Zone 10 and

provides wholesale energy supply and related electricity services to its citizens and

businesses in its municipal territory. City of Poplar Bluff Municipal Utilities –

whose objective is to provide the people of Poplar Bluff with the best light, water,

and sewer service at the lowest possible rate – is adversely impacted by the rates

established in the orders under review. City of Poplar Bluff Municipal Utilities

issues no stock, has no parent corporation, and is not owned in whole or in part by

any publicly held corporation.



                                              /s/ Kenneth R. Stark
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  CORPORATE DISCLOSURE STATEMENT OF KENNETT BOARD OF
                    PUBLIC WORKS

      Kennett Board of Public Works is a municipal entity organized under the

laws of the State of Missouri. Kennett Board of Public Works receives electric

transmission service from SPP in SPP pricing Zone 10 and provides wholesale

energy supply and related electricity services to its citizens and businesses in its

municipal territory. Kennett Board of Public Works is adversely impacted by the

rates established in the orders under review. Kennett Board of Public Works issues

no stock, has no parent corporation, and is not owned in whole or in part by any

publicly held corporation.



                                               /s/ Kenneth R. Stark
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  CORPORATE DISCLOSURE STATEMENT OF CITY OF PIGGOTT-AR
           MUNICIPAL LIGHT WATER AND SEWER

       City of Piggott-AR Municipal Light Water and Sewer is a municipal entity

 organized under the laws of the State of Arkansas. City of Piggott-AR Municipal

 Light Water and Sewer receives electric transmission service from SPP in SPP

 pricing Zone 10 and provides wholesale energy supply and related electricity

 services to its citizens and businesses in its municipal territory. City of Piggott-AR

 Municipal Light Water and Sewer is adversely impacted by the rates established in

 the orders under review. City of Piggott-AR Municipal Light Water and Sewer

 issues no stock, has no parent corporation, and is not owned in whole or in part by

 any publicly held corporation.



                                               /s/ Kenneth R. Stark
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                                               kstark@mcneeslaw.com




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    CORPORATE DISCLOSURE STATEMENT OF CITY OF MALDEN-
                  BOARD OF PUBLIC WORKS

       City of Malden-Board of Public Works is a municipal entity organized under

 the laws of the State of Missouri. City of Malden-Board of Public Works receives

 electric transmission service from SPP in SPP pricing Zone 10 and provides

 wholesale energy supply and related electricity services to its citizens and

 businesses in its municipal territory. City of Malden-Board of Public Works is

 adversely impacted by the rates established in the orders under review. City of

 Malden-Board of Public Works issues no stock, has no parent corporation, and is

 not owned in whole or in part by any publicly held corporation.



                                               /s/ Kenneth R. Stark
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              CORPORATE DISCLOSURE STATEMENT OF
             WESTERN FARMERS ELECTRIC COOPERATIVE

       Petitioner Western Farmers Electric Cooperative (“WFEC”) is a generation

 and transmission cooperative headquartered in Anadarko, Oklahoma. WFEC

 owns, operates, and maintains more than 3,800 miles of transmission lines located

 principally in Oklahoma. WFEC serves its 21 distribution cooperative member-

 owners and Altus Air Force Base, which, in turn, serve the electric needs of their

 retail customers in Oklahoma, New Mexico, Kansas, and Texas. None of WFEC’s

 members owns 10% or more of WFEC.

       Relevant to this proceeding, WFEC is a Member of Southwest Power Pool,

 Inc. (“SPP”), WFEC’s transmission facilities in the SPP region are administered

 through the SPP Open Access Transmission Tariff, and WFEC is a transmission

 customer of SPP with load in SPP’s Zone 10.


                                        /s/ Daniel E. Frank
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           CORPORATE DISCLOSURE STATEMENT OF
   XCEL ENERGY SERVICES INC., ON BEHALF OF SOUTHWESTERN
                  PUBLIC SERICE COMPANY

        Xcel Energy Services Inc. (“Xcel Energy Services”), on behalf of its

  public utility affiliate Southwestern Public Service Company (“SPS”), provides

  the following disclosure statement:

        SPS is a New Mexico corporation and an operating utility engaged in the

  generation, purchase, transmission, distribution, and sale of electric power. SPS

  is a wholly-owned utility subsidiary of Xcel Energy Inc. (“Xcel Energy”). There

  are no other parent corporations or publicly held companies that own a 10% or

  greater ownership interest in SPS. SPS’s principal place of business is 790

  South Buchanan Street, Amarillo, TX 79101.

        Xcel Energy Services is a Delaware corporation and the service company

  subsidiary of Xcel Energy and provides SPS with an array of services, including

  making appearances before the Commission and reviewing courts. There are no

  other parent corporations or publicly held companies that own a 10% or greater

  ownership interest in Xcel Energy Services. Xcel Energy Services’ principal

  place of business is 414 Nicollet Mall, Minneapolis, Minnesota, 55401.

        Xcel Energy is a Minnesota corporation and a holding company under the

  Public Utility Holding Company Act of 2005. Xcel Energy’s principal place of

  business is 414 Nicollet Mall, Minneapolis, Minnesota, 55401. Xcel Energy is a



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  publicly-traded company on the NASDAQ under the symbol “XEL.” The

  Vanguard Group in its most recent financial discloser indicated that it owns

  10.18% of Xcel Energy. There are no other parent corporations or publicly held

  companies that own a 10% or greater ownership interest in Xcel Energy.

        Neither Xcel Energy Services nor SPS nor any affiliate, other than Xcel

  Energy, has issued shares to the public.1



                                 /s/ Timothy T. Mastrogiacomo
                                 Lead Assistant General Counsel
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                                 tim.t.mastrogiacomo@xcelenergy.com




  1
   Xcel Energy Services and certain operating company subsidiaries of Xcel
  Energy Inc., including SPS, Northern States Power Company, a Minnesota
  corporation, Northern States Power Company, a Wisconsin corporation, and
  Public Service Company of Colorado, have issued first mortgage bonds and other
  debt securities that are publicly traded. A complete list of all debt securities of
  Xcel Energy Inc. and its subsidiaries is available at the Xcel Energy Inc. website
  (www.xcelenergy.corn) under Investor Information.


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 CORPORATE DISCLOSURE STATEMENT OF AMERICAN ELECTRIC
  POWER SERVICE CORPORATION ON BEHALF OF ITS AFFILIATES
 PUBLIC SERVICE COMPANY OF OKLAHOMA AND SOUTHWESTERN
                 ELECTRIC POWER COMPANY

       American Electric Power Service Corporation (“AEPSC”) is a corporation

 organized and existing under the laws of the State of New York. AEPSC is a

 wholly-owned subsidiary of American Electric Power Company, Inc. (“AEP”), a

 New York corporation whose common stock is held by the public and traded on

 the NASDAQ Stock Market under the symbol “AEP.” AEP has no parent

 company. Certain institutional investors including Vanguard may from time to

 time hold 10 percent or more of the outstanding shares of AEP but to AEP’s

 knowledge no publicly-held company has a 10 percent or greater ownership

 interest in AEP.

       Among its many subsidiaries, AEP owns nine electric operating companies

 and seven transmission companies and is a joint owner in several additional

 transmission companies. AEPSC provides a variety of administrative and

 technical services to AEP’s affiliates, including Public Service Company of

 Oklahoma (“PSO”) and Southwestern Electric Power Company (“SWEPCO”), on

 behalf of which AEPSC participated in the proceedings before the Federal Energy

 Regulatory Commission that resulted in the Orders as to which review is sought in

 this Court. PSO is a corporation organized and existing under the laws of




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 Oklahoma. SWEPCO is a corporation organized and existing under the laws of

 Delaware. Both PSO and SWEPCO are wholly-owned subsidiaries of AEP.


                                           /s/ Shaun M. Boedicker
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                                           Counsel for American Electric Power
                                           Service Corporation, on behalf of its
                                           affiliates, Public Service Company of
                                           Oklahoma and Southwestern Electric
                                           Power Company




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                               IN THE
                  UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

 Paragould Light & Water Commission             )
 (d/b/a – Paragould Light, Water &              )
 Cable – PLWC); City of Poplar Bluff            )
 Municipal Utilities; Kennett Board of          )
 Public Works; City of Piggott-AR               )
 Municipal Light Water and Sewer; City          )
 of Malden - Board of Public Works;             )
 Evergy Kansas Central, Inc.;                   )
 Evergy Metro, Inc.; Evergy Missouri West, )
 Inc.; American Electric Power Service          )
 Corporation on behalf of its affiliates Public )
 Service Company of Oklahoma and                )            No. 23-1133
 Southwestern Electric Power Company;           )
 Xcel Energy Services Inc. on behalf of its )
 operating company affiliate Southwestern )
 Public Service Company; Western Farmers )
 Electric Cooperative,                          )
                                                )
                    Petitioners,                )
                                                )
                    v.                          )
                                                )
 Federal Energy Regulatory Commission,          )
                                                )
                    Respondent.                 )


                           CERTIFICATE OF SERVICE

       Under Rules 15(c) and 25 of the Federal Rules of Appellate Procedure and

 Rules 15(a) and 25 of the Circuit rules, I certify that I have this 17th day of July

 2023, served by email or first-class mail, this Petition for Review on the Office of




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 the Solicitor General of the Federal Energy Regulatory Commission and the

 Secretary of the Commission:


 Ms. Kimberly D. Bose                          Mr. Robert H. Solomon
 Secretary                                     Solicitor
 Federal Energy Regulatory                     Federal Energy Regulatory
 Commission                                    Commission
 888 First Street, NE                          888 First Street, NE
 Washington, DC 20426                          Washington, DC 20426


       I further certify that I have served a copy of the foregoing Petition for

 Review on all persons on the Commission’s service list in the underlying

 proceedings, Docket Nos. ER18-99-000, et al., via electronic mail as shown in the

 service list attached as Exhibit 4.




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                      Exhibit 1
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                                        182 FERC ¶ 61,141
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

         Southwest Power Pool, Inc.                                     Docket No. ER18-99-005

                                      ORDER ON INITIAL DECISION

                                          (Issued February 28, 2023)

                 This case is before the Commission on exceptions to an Initial Decision issued on
         December 6, 2021.1 The Initial Decision addresses disputes arising from Southwest
         Power Pool, Inc.’s (SPP) proposal to revise its Open Access Transmission Tariff (Tariff)
         to include the annual transmission revenue requirement (ATRR) of transmission facilities
         associated with the City of Nixa, Missouri (City of Nixa), owned by GridLiance High
         Plains LLC (GridLiance),2 in one of SPP’s existing transmission pricing zones, SPP
         Pricing Zone 10 (Zone 10), for purposes of rate recovery. Participants litigated
         three general issues: (1) whether, and to what extent, the placement of the transmission
         facilities associated with the City of Nixa (Nixa Assets) in Zone 10 involves a cost shift;
         (2) whether benefits accrue to Zone 10 customers as a result of placing the Nixa Assets in
         Zone 10; and (3) whether the benefits justify the cost shift.

               In the Initial Decision, the Presiding Judge concluded that SPP’s proposal to
         incorporate the Nixa Assets in Zone 10 is consistent with cost causation principles and is
         otherwise just and reasonable. As discussed below, we affirm the Initial Decision.

         I.     Background

                A.       SPP’s Zonal Construct

                SPP uses a zonal rate design, pursuant to which its footprint is separated into a
         number of transmission pricing zones for purposes of establishing transmission service
         rates. The Tariff specifies a zonal ATRR for each pricing zone that is based on the sum
         of the ATRRs for each transmission owner in the zone. Some pricing zones consist of
         the facilities of a single transmission owner, while other zones consist of the facilities of

                1
                    Sw. Power Pool, Inc., 177 FERC ¶ 63,021 (2021) (Initial Decision).
                2
                    GridLiance was formerly known as South Central MCN LLC.
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         Docket No. ER18-99-005                                                                -2-

         multiple transmission owners. Customers taking transmission service for delivery to load
         within a particular pricing zone pay a transmission rate based, in part, on the sum of the
         ATRRs for each transmission owner in that zone. Generally, the charges for Network
         Integration Transmission Service (network service) in a pricing zone are calculated by
         multiplying a customer’s percentage share of total load in the zone (i.e., its load-ratio
         share) by the zonal ATRR.3 When a new transmission owner is added to an existing
         pricing zone, the ATRR for its transmission facilities in the zone and any associated load
         not already included in the zonal load are added to the existing zone’s zonal ATRR and
         total load. Therefore, the addition of a new transmission owner to an existing
         transmission pricing zone will change the existing customers’ charges for network
         service, unless the average cost of the new transmission owner’s transmission system
         (i.e., its ATRR divided by its load) is exactly the same as the existing zone’s average
         cost. Rates for point-to-point transmission service are also based on the zonal ATRR and
         are set forth in Attachment T of the Tariff.4

               B.     SPP Zonal Placement Process

                In 2017, SPP instituted a new Transmission Owner Zonal Placement Process
         (Zonal Placement Process) to review and determine zonal placement for existing
         transmission facilities that new SPP transmission-owning members propose to include
         under the SPP Tariff. A group of SPP transmission owners challenged the SPP Zonal

               3
                 See SPP, Tariff, pt. III (Network Integration Transmission Service), § 34.1
         (Monthly Demand Charge) (3.0.0); see also id., Schedule 9 (Network Integration
         Transmission Service) (9.0.0). Schedule 9 (Network Integration Transmission Service)
         under SPP’s Tariff describes that the transmission customer taking network service shall
         pay a monthly demand charge for the SPP Pricing Zone where the load is located.
               4
                  Schedule 7 (Long-Term Firm and Short-Term Firm Point-to-Point Transmission
         Service) under SPP’s Tariff describes that the transmission customer shall pay the zonal
         rate based upon the SPP Pricing Zone where the load is located for firm point-to-point
         transmission service. See id., Schedule 7 (Long-Term Firm and Short-Term Firm
         Point-to-Point Transmission Service) (8.0.0).

                Schedule 8 (Non-Firm Point-to-Point Transmission Service) under SPP’s Tariff
         describes that the transmission customer shall pay the zonal rate based upon the SPP
         Pricing Zone where the load is located for non-firm point-to-point transmission service.
         See id., Schedule 8 (Non-Firm Point-to-Point Transmission Service) (7.0.0).

                 Schedule 11 (Base Plan Zonal Charge and Region-wide Charge) under SPP’s
         Tariff describes that SPP will assess a zonal component to recover the ATRR of facilities
         classified as Base Plan Upgrades and a regional component to recover the region-wide
         ATRR. See id., Schedule 11 (Base Plan Zonal Charge and Region-wide Charge) (9.0.0).
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         Docket No. ER18-99-005                                                                -3-

         Placement Process in a complaint at the Commission, arguing that allocating the costs of
         a new SPP member’s transmission facilities to existing customers of a zone results in an
         unjust and unreasonable cost shift between new and existing transmission customers.5
         The Commission denied the complaint, finding that the complainants did not show that
         the shifting of cost responsibility for existing transmission costs in the context of
         integrating a new transmission owner into SPP was per se unjust, unreasonable, or
         unduly discriminatory.6 The Commission noted that it has previously found, on a
         case-by-case basis, that some degree of cost shifting is just and reasonable.7 However,
         the Commission also stated that parties may challenge the placement of a new
         transmission owner’s facilities in a transmission pricing zone:

                        Specifically, parties have the right to protest the proposed
                        placement of a new transmission owner in an existing zone
                        when SPP makes the filing pursuant to section 205 of the
                        [Federal Power Act (FPA)] to add the ATRR of the new
                        owner to the existing zone’s ATRR. In such protests, parties
                        have the opportunity to argue that cost shifts render the
                        proposed placement and new ATRR unjust, unreasonable,
                        and unduly discriminatory or preferential. The language of
                        the SPP Tariff does not preclude the Commission from then
                        accepting or rejecting SPP’s filing based on case-specific
                        facts and circumstances.8

               C.       Nixa Assets and SPP Proposal

                The Nixa Assets consist of approximately 10 miles of transmission lines and
         related facilities interconnected to Southwestern Power Administration (Southwestern) in
         Zone 10 and to City Utilities of Springfield, Missouri (City Utilities) in SPP Pricing




               5
                 Indicated SPP Transmission Owners v. Sw. Power Pool, Inc., 162 FERC
         ¶ 61,213 (ITOs Complaint Order), reh’g denied, 165 FERC ¶ 61,005 (2018)
         (ITOs Complaint Rehearing Order).
               6
                   See ITOs Complaint Order, 162 FERC ¶ 61,213 at PP 62, 68.
               7
                   Id. P 63.
               8
                   Id. P 74.
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         Zone 3 (Zone 3).9 GridLiance acquired the Nixa Assets from the City of Nixa on April 1,
         2018.10

                On October 18, 2017, SPP submitted proposed Tariff revisions to add an ATRR
         and a formula rate template and implementation protocols for the Nixa Assets. SPP
         explained that it had used its Zonal Placement Process to place the facilities in Zone 10.
         SPP stated that it considered two potential zones for placement of the Nixa
         Assets — Zone 3 and Zone 10 — but that its criteria did not indicate clearly in which of
         the two zones the Nixa Assets should be placed. SPP stated that the SPP Tariff indicated
         that Zone 10 is the most appropriate zone for the Nixa Assets because the load served by
         the Nixa Assets is already included in Zone 10. Several parties protested SPP’s filing,
         raising concerns about the rate impact on customers in Zone 10. On March 15, 2018, the
         Commission set the Tariff revisions for hearing and settlement judge procedures.11

                On August 30, 2019, SPP submitted an offer of settlement in the hearing docket on
         behalf of GridLiance and the ARKMO Cities (ARKMO).12 The offer of settlement was
         contested by a group of SPP transmission owners (ITO)13 and Associated Electric



               9
                 Southwestern, a federal power marketing association, is not a
         transmission-owning member of SPP but has an arrangement with SPP to provide
         transmission service pursuant to Attachment AD of the SPP Tariff. Southwestern
         operates its own Balancing Authority Area (BAA).
               10
                  On May 19, 2022, the Commission approved the transfer of ownership of the
         Nixa Assets from GridLiance to the Missouri Joint Municipal Electric Utility
         Commission (MJMEUC). See GridLiance High Plains LLC, 179 FERC ¶ 61,113 (2022);
         see also Sw. Power Pool, Inc., 179 FERC ¶ 61,134 (2022) (accepting proposed tariff
         revisions subject to refund and establishing hearing and settlement judge procedures).
               11
                  Sw. Power Pool, Inc., 162 FERC ¶ 61,215 (Hearing Order), order denying reh’g
         and clarification, 164 FERC ¶ 61,120 (2018) (Rehearing Order).
               12
                  ARKMO includes the following customers within Zone 10: Paragould Light
         Water & Cable; Paragould Light Commission; Poplar Bluff Municipal Utilities; Kennett
         Board of Public Works; City of Piggott Municipal Light, Water & Sewer; and the City of
         Malden.
               13
                    ITOs include: Evergy Kansas Central, Inc., Evergy Metro, Inc., and Evergy
         Missouri West, Inc.; American Electric Power Service Corporation, on behalf of its
         affiliates Public Service Company of Oklahoma and Southwestern Electric Power
         Company; Xcel Energy Services Inc., on behalf of its affiliate Southwestern Public
         Service Company; and Western Farmers Electric Cooperative. ITOs in this proceeding
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         Cooperative, Inc. The Commission issued an order on February 18, 2021 rejecting the
         contested settlement and remanding to resume hearing procedures.14 The Commission
         found that there was insufficient evidence in the record for the Commission to make a
         determination on whether and the extent to which there are cost shifts involved in the
         placement of the Nixa Assets in Zone 10 or benefits that may accrue that would justify
         any such cost shifts.15 Of note, the Commission found that:

                        The existence of a rate impact does not necessarily mean that
                        the cost allocation for the Nixa Assets is unjust and
                        unreasonable. Nonetheless, we are not convinced that the
                        record in this case shows that sufficient benefits will accrue to
                        Zone 10 customers to justify the Settlement. As the ITOs
                        pointed out, the evidence presented by SPP and GridLiance as
                        to the benefits of the inclusion of the Nixa Assets is general in
                        nature and not specific to Zone 10 customers. We note that
                        this issue was not thoroughly briefed because many of the
                        parties argued that the cost shift issue was outside the scope
                        of the proceeding; we expect that on remand to the Chief
                        Judge the parties will engage in this issue more closely. For
                        example, we expect the parties to evaluate the cost shifts
                        reflecting, among other things, known and measurable
                        changes to the GridLiance system for the next five to
                        seven years, consistent with Tri-State.16

         II.   Initial Decision and Subsequent Pleadings

                 On December 6, 2021, the Presiding Judge issued the Initial Decision, which
         addressed three general issues: (1) whether, and to what extent, the placement of the
         Nixa Assets in Zone 10 involves a cost shift; (2) whether benefits accrue to Zone 10
         customers as a result of placing the Nixa Assets in Zone 10; and (3) whether the benefits
         justify the cost shift. The Presiding Judge determined that SPP’s proposal to incorporate

         are different from the group of SPP transmission owners that challenged the SPP Zonal
         Placement Process. See ITOs Complaint Order, 162 FERC ¶ 61,213 at P 1 n.3.
               14
                Sw. Power Pool, Inc., 174 FERC ¶ 61,116 (Remand Order), order on reh’g,
         175 FERC ¶ 61,235 (2021) (Remand Rehearing Order).
               15
                    Remand Order, 174 FERC ¶ 61,116 at P 40.
               16
                  Id. P 41 (citing Sw. Power Pool, Inc., Opinion No. 562, 163 FERC ¶ 61,109,
         at P 157 (2018) (Tri-State), order on reh’g, Opinion No. 562-A, 166 FERC ¶ 61,019
         (2019) (Tri-State Rehearing)).
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         the Nixa Assets in Zone 10 is consistent with cost causation principles and is otherwise
         just and reasonable.17 Specifically, the Presiding Judge found that: (1) the placement of
         the Nixa Assets in Zone 10 will result in a $1.8 million cost shift to Zone 10 customers;
         (2) the Nixa Assets accrue substantial, specific, but unquantifiable benefits (i.e.,
         integration benefits, reliability enhancements, and support for power transfers) to
         Zone 10 customers; and (3) those benefits justify the cost shift involved in the placement
         of the Nixa Assets in Zone 10.18

               On January 5, 2022, ARKMO, ITOs, Nebraska Public Power District (NPPD), and
         Commission Trial Staff (Trial Staff) each filed a brief on exceptions to the Initial
         Decision. On January 25, 2022, SPP, GridLiance, and City Utilities each filed a brief
         opposing exceptions to the Initial Decision.

                We address the Presiding Judge’s findings in the Initial Decision and the issues
         raised by the briefs in detail below.

         III.   Discussion

               For the reasons discussed below, we affirm the Initial Decision’s findings that
         SPP’s proposal to include the ATRR for the Nixa Assets in Zone 10 is just and
         reasonable and consistent with the cost causation principle. Accordingly, we accept
         SPP’s proposed Tariff revisions.

                 Participants in this proceeding do not dispute on exceptions that the Nixa Assets
         qualify as transmission under the SPP Tariff. The question raised in this proceeding is
         whether GridLiance recovering the costs of the Nixa Assets in Zone 10 transmission rates
         is just and reasonable and consistent with the cost causation principle. Compliance with
         the cost causation principle is evaluated “by comparing the costs assessed against a party
         to the burdens imposed or benefits drawn by that party.”19 Cost allocation may be
         adequate when “the benefits customers receive from the transmission facilities ‘are at
         least roughly commensurate’ with the costs allocated to them.”20 Here, we consider


                17
                     Initial Decision, 177 FERC ¶ 63,021 at PP 2, 188, 206.
                18
                     Id. PP 77, 122, 153.
                19
                  Midwest ISO Transmission Owners v. FERC, 373 F.3d 1361, 1368-69
         (D.C. Cir. 2004) (citing K N Energy, Inc. v. FERC, 968 F.2d 1295, 1300
         (D.C. Cir. 1992)).
                20
                 ITOs Complaint Rehearing Order, 165 FERC ¶ 61,005 at P 23. The “roughly
         commensurate” standard is based upon decisions in the Seventh Circuit discussed further
         below. See Ill. Commerce Comm’n v. FERC, 576 F.3d 470 (7th Cir. 2009) (ICC I); Ill.
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         whether the benefits customers in Zone 10 receive from the Nixa Assets are at least
         roughly commensurate with the costs allocated to them. We address below the elements
         the Initial Decision relied upon when making the determination that the benefits of the
         Nixa Assets justify the cost shift to Zone 10 customers.

                A.         Amount of Cost Shift

                           1.    Initial Decision

                 The Presiding Judge concluded that the cost shift experienced by all Zone 10
         customers, including the City of Nixa, as a result of placing the Nixa Assets in Zone 10
         rates is the entire GridLiance ATRR, or $1.8 million.21 The Presiding Judge relied on the
         assessment of ARKMO witness Mr. Busbee and found that all other calculations of the
         cost shift were flawed.22

                The Presiding Judge determined that Mr. Busbee’s testimony better reflected the
         facts of the case because it treated all Zone 10 customers equally, focusing on the total
         increase in the Zone 10 ATRR rather than the portion of the GridLiance ATRR that
         would be paid for by the non-City of Nixa customers in Zone 10.23 The Presiding Judge
         found that this approach was consistent with, and was supported by, testimony by SPP
         witness Mr. Locke that asserted that rate impacts should be assessed by reference to all
         customers in Zone 10 because SPP determines rates on a zonal basis.24 The Presiding
         Judge stated that determining intra-zonal cost shifts from the City of Nixa to non-City of
         Nixa customers in Zone 10 depends on a ratemaking distinction that is not recognized
         within SPP’s zonal rate construct.25

                 The Presiding Judge stated that, unlike the situation in Tri-State, where new
         facilities and new load were entering SPP at the same time, the City of Nixa converted to
         SPP network service before GridLiance transferred functional control of the Nixa Assets


         Commerce Comm’n v. FERC, 756 F.3d 556 (7th Cir. 2014) (ICC II); Ill. Commerce
         Comm’n v. FERC, 721 F.3d 764 (7th Cir. 2013) (ICC III).
                21
                Initial Decision, 177 FERC ¶ 63,021 at P 77 (citing Tr. at 1356:12-1357:23;
         Ex. GHP-0225).
                22
                     Id.
                23
                     Id. P 80.
                24
                     Id.
                25
                     Id.
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         to SPP or submitted its ATRR for inclusion of the Nixa Asset costs in SPP’s rates.26 The
         Presiding Judge stated that, given this factual distinction, there was no requirement to
         consider cost shifts between subsets of Zone 10 customers.27 The Presiding Judge further
         stated that Mr. Busbee’s testimony correctly determined that the City of Nixa’s rates, like
         the rates of non-City of Nixa customers in Zone 10, would increase based on the
         inclusion of GridLiance’s ATRR in Zone 10 rates, and that it would not be appropriate to
         reduce the amount of cost shift to focus only on the portion to be paid by non-City of
         Nixa customers in Zone 10.28

                The Presiding Judge disagreed with testimony by ARKMO and ITOs witness
         Mr. Puga and by GridLiance witness Mr. Tsoukalis that argued the cost shift amount
         should be reduced by the portion of the Southwestern ATRR that is paid for by the City
         of Nixa.29 The Presiding Judge stated that GridLiance has no basis to claim credit for
         bringing the City of Nixa load into Zone 10 because the City of Nixa converted to SPP
         network service before, and independently of, any decision by GridLiance to roll its
         ATRR into SPP’s rates.30 The Presiding Judge stated that any portion of the overall
         Zone 10 ATRR paid for by the City of Nixa has nothing to do with the cost shifted to
         Zone 10 customers by the addition of the GridLiance ATRR.31

                The Presiding Judge found that the arguments from ITOs and ARKMO to
         articulate the cost shift as a percentage of GridLiance’s total ATRR do not make sense
         because the cost shift should be determined by reference to the cost shifted to all Zone 10
         customers, not by reference to an “artificial distinction” between the City of Nixa and
         non-City of Nixa customers in Zone 10.32 The Presiding Judge stated that the cost shift is
         100% in this case as opposed to the 89% claimed by ITOs.33 However, the Presiding
         Judge asserted that this percentage did not show the magnitude of the cost shift that the
         Commission sought any better than the rate impact figures advanced by SPP and

                26
                     Id. P 81.
                27
                     Id.
                28
                     Id.
                29
                     Id. P 82.
                30
                     Id.
                31
                     Id.
                32
                     Id. P 83.
                33
                     Id.
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         GridLiance.34 The Presiding Judge found that stating the cost shift as a percentage
         inappropriately exacerbated the perception of the cost shift, just as SPP’s and
         GridLiance’s rate impact analysis muted the perception of the cost shift.35 The Presiding
         Judge also found that, in nominal terms, the $1.8 million cost shift is less than half of the
         $4.3 million cost shift found in Tri-State, which provided a proper context and balanced
         view of the magnitude of the cost shift in this case.36

                The Presiding Judge rejected ITOs’ claim that the cost shift should be measured as
         a percentage because the roughly commensurate test requires the same proportions of
         costs assigned to different Zone 10 customers as benefits derived by different Zone 10
         customers.37 The Presiding Judge stated that such a proportionate distribution
         requirement did not appear in the relevant Commission or court precedent.38

                The Presiding Judge rejected Trial Staff’s proposal to increase the cost shift
         amount by considering the cost that GridLiance included in Schedule 11.39 The Presiding
         Judge stated that GridLiance was directed to incur Schedule 11 costs pursuant to the SPP
         regional process and that the Schedule 11 costs therefore were not related to GridLiance’s
         acquisition of the Nixa Assets or SPP’s zonal placement decision.40 The Presiding Judge
         determined that Trial Staff’s proposal to include GridLiance’s Schedule 11 costs
         inappropriately inflated the cost shift calculation based on costs unrelated to zonal
         placement, akin to the same reasons that Trial Staff argued against considering
         Schedule 1 (Scheduling, System Control and Dispatch Service) costs as part of the cost of
         zonal placement (i.e., whether such costs relate to the zonal placement of the new
         transmission assets).41




                34
                     Id.
                35
                     Id.
                36
                     Id.
                37
                     Id. P 84.
                38
                     Id.
                39
                     Id. P 85.
                40
                     Id.
                41
                     Id.
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                          2.      Briefs on Exceptions

                 Participants argue that the Initial Decision erred in finding that the relevant cost
         shift in this proceeding was only $1.8 million, compared to the $4.3 million cost shift in
         Tri-State. Participants argue that the appropriate cost shift in this proceeding is actually
         89% of the ATRR for the Nixa Assets for 2021, because 89% is the total amount of the
         Nixa Assets being borne by non-City of Nixa load in Zone 10; prior to the addition of the
         Nixa Assets to Zone 10, the City of Nixa paid for 100% of their costs.42

                 ITOs argue that contrary to the Initial Decision, the City of Nixa was a beneficiary
         rather than a victim of the cost shift.43 ITOs state that the economics are plain that the
         City of Nixa’s transmission costs went down, not up, and that the costs of other Zone 10
         customers went up as a direct result.44 ARKMO argues that the Initial Decision’s use of
         the $1.8 million figure was simplified and fails to provide a full and accurate picture of
         the cost shift at issue, which occurs over several rate years.45 ARKMO also argues that
         the Initial Decision erred in not evaluating intra-zonal cost shifts between the City of
         Nixa and non-City of Nixa customers in Zone 10, as the Commission had set this issue
         for hearing in the initial hearing order and in the rejection of the settlement.46 NPPD
         argues that the Presiding Judge failed to undertake a proper assessment of the actual cost
         shifts to existing Zone 10 customers that would accrue as a result of SPP’s proposal.47

               ARKMO and Trial Staff argue that the Initial Decision disregarded the rate impact
         on Zone 10 customers and erred in finding that the evidence of rate impacts was too
         tangential to the cost shift in this case and too speculative.48 Trial Staff argues that the
         Commission found that rate impact should be evaluated including percentage increases to



                42
                  ARKMO Brief on Exceptions at 25; ITOs Brief on Exceptions at 30; Trial Staff
         Brief on Exceptions at 39-40; NPPD Brief on Exceptions at 5.
                43
                     ITOs Brief on Exceptions at 32.
                44
                     Id. at 34.
                45
                     ARKMO Brief on Exceptions at 28.
                46
                     Id. at 33.
                47
                     NPPD Brief on Exceptions at 4-5.
                48
                  ARKMO Brief on Exceptions at 86 (citing Initial Decision, 177 FERC ¶ 63,021
         at P 180); Trial Staff Brief on Exceptions at 36.
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         transmission cost responsibility.49 Trial Staff notes that, in Tri-State, the Commission
         highlighted the importance of rate impact (“an eight percent increase in Zone 17 rates”)
         in evaluating cost shift.50 ARKMO argues that the rate impacts from 2018 to 2021 are
         known and measurable, and some future rate impacts can be reasonably forecasted using
         available data. ARKMO notes the presentation by Trial Staff of the current 21-22% rate
         increase to Zone 10 customers compared to the less severe eight percent increase in
         Tri-State.51

                 ITOs argue that the cost shift should not be measured in nominal dollars alone, as
         this is difficult to weigh against non-monetized benefits when determining whether the
         benefits are proportional to costs.52 ITOs argue that nominal dollars, proportionality and
         rate impacts are all useful to understand a cost shift and should not be viewed alone.53
         The ITOs note that the Initial Decision’s comparison of the nominal dollars between this
         case and Tri-State was simplistic and ignores the differences between the two matters.54
         Trial Staff argues that the Schedule 11 costs for the Notice to Construct upgrade55 should
         be included in the cost shift based on the precedent from Tri-State.56 Trial Staff and
         NPPD further argue that SPP’s own calculations confirm that the zonal placement in this
         case results in the highest ever impact on Schedule 9 rates in a zone, i.e., an increase of
         23.5% to Schedule 9 rates.57



                49
                  Trial Staff Brief on Exceptions at 36 (citing ITOs Complaint Order, 162 FERC
         ¶ 61,213 at P 62).
                50
                     Id. at 38.
                51
                     ARKMO Brief on Exceptions at 87.
                52
                     ITOs Brief on Exceptions at 36-37.
                53
                     Id. at 38.
                54
                     Id. at 39-40.
                55
                  SPP had directed GridLiance to construct an upgrade to the Nixa Assets to
         address a regional reliability issue, and the parties refer to this upgrade as the Notice to
         Construct. See Ex. GHP-0229 at 5:5-8:6.
                56
                     Trial Staff Brief on Exceptions at 32.
                57
                 Id. at 41 (citing Ex. ARK-0074 at 2); NPPD Brief on Exceptions at 6 (citing
         Ex. SPP-0026 at 6:17).
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                          3.      Briefs Opposing Exceptions

                According to SPP, GridLiance, and City Utilities, the Presiding Judge’s decision is
         appropriate and supported by abundant record evidence.58 GridLiance argues that an
         Administrative Law Judge’s decision is entitled to “great deference” with respect to
         matters of witness credibility and weight of evidence,59 and that the Commission
         generally must find some clear indicator of error to overturn an Administrative Law
         Judge’s decision.60

                 City Utilities asserts that the Initial Decision appropriately considered rate impacts
         when evaluating the cost shifts of placing Nixa Assets in Zone 10 even though the
         Remand Order did not obligate the Presiding Judge to do so.61 Additionally, City
         Utilities argues that rate impact is “a fairly meaningless measuring stick” in this
         proceeding because “muddying” the cost shift analysis with discussions of rate impact
         ignores the fact that, as the Initial Decision states, “cost shift will not change as more load
         converts and the rate impact decreases.”62

                 Similarly, SPP explains that focusing on rate impacts could paint an incomplete
         picture of the effect in this particular case.63 GridLiance supports this position by stating
         that the GridLiance ATRR is a more appropriate measure of cost shift than the rate
         impacts.64 GridLiance also asserts that ITOs’ and ARKMO’s theory of cost shifts, which
         is based solely on load ratio share percentages, results in illogical outcomes because it

                58
                   SPP Brief Opposing Exceptions at 7; GridLiance Brief Opposing Exceptions
         at 12; City Utilities Brief Opposing Exceptions at 11.
                59
                  GridLiance Brief Opposing Exceptions at 10 (citing BP Am. Inc., 173 FERC
         ¶ 61,239, at P 154 (2020); Entergy Servs., Inc., 130 FERC ¶ 61,023, at P 53 n.66 (2010);
         El Paso Nat. Gas Co., 67 FERC ¶ 61,327, at 62,156 (1994)).
                60
                  Id. at 11 (citing Entergy Servs., Inc., 130 FERC ¶ 61,023 at P 53 n.66 (“Thus,
         the Commission will not overturn the Presiding Judge’s judgment as to what evidence he
         found meaningful or worthy of weight absent some clear indicator of error, which is not
         present here.”)).
                61
                     City Utilities Brief Opposing Exceptions at 10.
                62
                     Id. at 11.
                63
                  SPP Brief Opposing Exceptions at 43 (citing Ex. SPP-001 at 18:7-22; Tr.
         at 116:17-117:18).
                64
                     GridLiance Brief Opposing Exceptions at 65-66.
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         offers nothing in terms of magnitude of rate impacts.65 SPP concurs, stating that the
         Presiding Judge properly determined that an evaluation of the cost shift in this proceeding
         requires consideration of the costs paid by all Zone 10 customers, not merely those paid
         by non-City of Nixa customers in Zone 10.66 SPP explains that this is precisely how
         zonal rates are designed to work, i.e., each customer pays the same zonal rate times its
         load ratio share for the costs of all facilities, even though each customer benefits
         differently from each individual transmission facility in the zone.67 SPP states that the
         City of Nixa pays a share of the costs of serving other Zone 10 customers without
         receiving proportionate benefits, resulting in a “cost shift” to the City of Nixa from assets
         used primarily to serve “non-City of Nixa” customers.68

                SPP argues that artificially dividing Zone 10 into “City of Nixa” and “non-City of
         Nixa” customers obfuscates the magnitude of the cost shift to the specific, individual
         customers protesting in this proceeding.69 SPP further argues that there is no basis in the
         record to view the cost shift from the City of Nixa to other Zone 10 customers, and that
         determining the cost shift on a “City of Nixa versus non-City of Nixa” basis would
         require a distinction that is not recognized in SPP’s zonal rate construct or justified by the
         evidentiary record.70

                 SPP argues that the appropriate and balanced approach is to consider the costs and
         benefits to the City of Nixa from the “non-City of Nixa” facilities and the benefits that
         every other Zone 10 customer receives, not only from the Nixa Assets, but also from the
         City of Nixa’s contribution to the costs of the facilities serving those customers.71 City
         Utilities adds that a reasoned analysis of the rate impacts of SPP’s zonal placement must
         address the fact the City of Nixa load in Zone 10 is absorbing a share of existing Zone 10
         costs, including the costs of facilities that enable power flows that do not benefit the City



                65
                     Id. at 19.
                66
                     SPP Brief Opposing Exceptions at 7-8 (citing Tr. at 1662:20-1663:20).
                67
                  Id. at 8 (citing Ex. SPP-0031 at 28:17-29:4, 36:18-37:6; Ex. SPP-0026
         at 13:11-12).
                68
                     Id. at 46.
                69
                     Id.
                70
                     Id. at 44-45 (citing Initial Decision, 177 FERC ¶ 63,021 at PP 80, 81, 83).
                71
                     Id. at 46 (citing Ex. SPP-0031 at 22:7-11; Tr. at 614:3-16).
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         of Nixa’s load.72 GridLiance concurs, asserting that cost shifts in both directions must be
         analyzed when considering rate impacts to non-City of Nixa customers.73

                         4.     Commission Determination

                We affirm the Presiding Judge’s finding that the cost shift at issue in this
         proceeding should be calculated as GridLiance’s proposed ATRR for the Nixa Assets,
         which is $1.8 million. We find that the Presiding Judge properly balanced competing
         testimony to reach this finding, which is supported by the evidence presented at hearing.

                Participants raise several objections to the $1.8 million figure. First, participants
         argue that the proper measure of the cost shift is the amount of the Nixa Assets that will
         be paid by non-City of Nixa customers rather than the full amount of the GridLiance
         ATRR. We disagree. As we discuss more fully below, the City of Nixa is already a
         Zone 10 customer and the Commission’s evaluation of the cost shift to Zone 10
         customers can and should incorporate costs paid by the City of Nixa as well as other
         customers in that zone. As the Initial Decision notes, the City of Nixa had divested the
         Nixa Assets and converted to SPP’s network service prior to the inclusion of the Nixa
         Assets into Zone 10, and their transmission rates under Zone 10 will increase upon
         inclusion of the Nixa Assets just as will the transmission rates of other Zone 10
         customers.74 Removing the City of Nixa from the cost shift figure would thus give an
         incomplete view of the total cost shift amount.

                 Trial Staff argues that the Presiding Judge erred in not including as part of the cost
         shift the value of the Schedule 11 costs associated with upgrades on the system incurred
         for the Notice to Construct related to the Nixa Assets. We agree with the Presiding Judge
         that the Schedule 11 costs related to the Notice to Construct are not relevant to the cost
         shift at issue here, as they are the results of SPP’s regional transmission planning process
         rather than GridLiance’s acquisition of the Nixa Assets or the inclusion of the Nixa
         Assets in Zone 10. Although Trial Staff argues that the Commission allowed
         consideration of Schedule 11 costs in the Tri-State decision, the costs in that proceeding
         involved upgrades planned prior to the integration of the transmission facilities into their
         new zone rather than the post-integration upgrades at issue here.75



                72
                     City Utilities Brief Opposing Exceptions at 13.
                73
                     GridLiance Brief Opposing Exceptions at 73.
                74
                     See Initial Decision, 177 FERC ¶ 63,021 at PP 81-82.
                75
                     See Tri-State, 163 FERC ¶ 61,109 at P 157.
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                 Participants also argue that the Presiding Judge erred in determining the cost shift
         as a dollar figure rather than a rate impact upon non-City of Nixa customers. The
         Presiding Judge bases his decision in part upon a finding that the Commission in the
         Remand Order asked for evidence of cost shifts, not rate impacts.76 While we agree that
         these are different terms with distinct meanings, we disagree that the Commission
         intended to limit the hearing to one type of evidence with respect to cost shifts. Both cost
         shifts in absolute dollar value and rate impacts by percentage can be useful methods of
         evaluating cost causation. The Commission was clear in the ITOs Complaint Order that
         both cost shifts and rate impacts associated with the placement of a new transmission
         owner into an existing zone could be relevant issues for determining whether a placement
         was just and reasonable.77 For purposes of this proceeding, however, we are able to reach
         a determination below on whether the benefits from the Nixa Assets justify the costs of
         their inclusion into Zone 10 based solely on the cost shift evidence in the record.
         Therefore, we find it is not necessary to rely on the rate impact evidence in the record.

                B.         Benefits to Customers

                           1.     Initial Decision

                 The Presiding Judge found that SPP and GridLiance demonstrated several
         substantial and specific benefits that accrue to Zone 10 customers from the Nixa Assets,
         with the integration benefits as the most compelling.78 The Presiding Judge found that
         SPP, in its role as a regional transmission organization (RTO), has to ensure that the Nixa
         Assets are sufficiently integrated with, and embedded in, SPP as part of the Zonal
         Placement Process.79 The Presiding Judge agreed with ITOs and ARKMO that
         qualification as transmission facilities under Attachment AI of the SPP Tariff in and of
         itself does not necessarily establish a benefit that would justify a cost shift.80 However,
         the Presiding Judge noted that ITOs and ARKMO did not contest that the Nixa Assets
         qualified as transmission facilities or that they were generally integrated.81


                76
                     Initial Decision, 177 FERC ¶ 63,021 at P 176.
                77
                   ITOs Complaint Order, 162 FERC ¶ 61,213 at P 62 (referring to both cost shifts
         and rate impacts as relevant to whether a zonal placement is just and reasonable).
                78
                     Id. PP 122-123.
                79
                     Id. P 123.
                80
                     Id.
                81
                     Id.
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                 The Presiding Judge found that the Nixa Assets also provide a reliability benefit as
         identified in the record.82 The Presiding Judge noted that testimony provided by
         GridLiance witness Mr. Tsoukalis regarding the N-1-1 contingency analysis and the
         Notice to Construct project established this benefit and reinforced that this benefit
         accrues specifically to Zone 10 customers.83 The Presiding Judge found that the Nixa
         Assets’ contribution to the resolution of N-1-1 contingencies has value to lower SPP’s
         need to rely on corrective action plans despite not resolving every N-1-1 contingency or
         to enable SPP to operate its system to withstand N-1 contingencies.84 The Presiding
         Judge stated that Mr. Puga and ITOs’ witness Mr. Schnitzer admitted that the reliability
         benefit exists.85

                 The Presiding Judge identified the facilitation of power transfers between
         numerous sources and sinks in Zone 10 and neighboring areas as a third benefit identified
         in the record.86 The Presiding Judge stated that Mr. Tsoukalis’s testimony regarding shift
         factor and historical metered flow data analyses demonstrated that this benefit extends
         beyond the City of Nixa to non-City of Nixa customers.87 The Presiding Judge stated that
         ITOs and ARKMO did not offer any evidence to support their position that the transfers
         identified in excess of the City of Nixa’s consumption were loop flows.88 Additionally,
         the Presiding Judge stated that ITOs and ARKMO were unable to deny that the Nixa
         Assets are available for SPP to use as additional capacity between Zone 10 and Zone 3
         for all customers on a nondiscriminatory basis.89 The Presiding Judge found that
         questions about the accuracy of the shift factor and historical metered flow data analyses
         were credibly addressed.90



                82
                     Id. P 125.
                83
                     Id.
                84
                     Id.
                85
                     Id.
                86
                     Id.
                87
                     Id.
                88
                     Id. P 126.
                89
                     Id.
                90
                     Id.
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                In making the finding that several substantial and specific benefits exist, the
         Presiding Judge discounted GridLiance’s attempts to increase the number of benefits by
         applying multiple labels to essentially the same benefit.91 The Presiding Judge
         determined that Mr. Tsoukalis’s testimony regarding joint planning and coordination of
         maintenance benefits were examples of the same integration benefit.92 The Presiding
         Judge further determined that GridLiance’s counterflow and environmental benefits were
         not independent benefits.93 Despite this, the Presiding Judge found the remaining
         examples to be evidence that the Nixa Assets’ integration benefits specifically accrue to
         Zone 10 customers, not only to the SPP region.94

                 The Presiding Judge stated that the objections from ITOs, ARKMO, NPPD, and
         Trial Staff challenging all of the benefits by arguing that they accrue disproportionately
         to the City of Nixa misread the Commission’s framing of the issues examined in the
         supplemental hearing, which was to seek additional evidence and briefing on benefits that
         are specific to Zone 10 customers.95 The Presiding Judge stated that the Remand Order
         did not suggest that the consideration of benefits specific to Zone 10 customers should be
         limited to only those benefits that accrue to non-City of Nixa customers in Zone 10.96
         The Presiding Judge stated that the Commission did not make a distinction among
         different Zone 10 customers in the Remand Order and that it was therefore appropriate to
         consider benefits to all Zone 10 customers.97 The Presiding Judge further stated that the
         City of Nixa received the same rate increase as other Zone 10 customers, and the benefit
         it accrues should be counted along with benefits accruing to all other Zone 10
         customers.98




               91
                    Id. P 122.
               92
                    Id. P 124.
               93
                    Id.
               94
                    Id.
               95
                    Id. P 127.
               96
                    Id.
               97
                    Id.
               98
                    Id. P 128.
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                The Presiding Judge disagreed with assertions from ITOs, ARKMO, NPPD, and
         Trial Staff that the benefits are not specific enough and are trivial or incidental.99 The
         Presiding Judge stated that the benefits identified in the record, coupled with the
         admissions from Mr. Puga and Mr. Schnitzer that some benefits exist, offer substantial
         evidence of benefits that accrue specifically to Zone 10 customers.100 The Presiding
         Judge noted that while some of the benefits may extend to customers outside of Zone 10,
         these benefits should not be disqualified from consideration because they demonstrate
         benefits to customers in Zone 10.101

                The Presiding Judge stated that SPP and GridLiance both produced evidence that
         questioned the argument that no economic benefits accrue for ARKMO from the Nixa
         Assets despite assertions from Trial Staff, ITOs, and ARKMO.102 The Presiding Judge
         also noted that it appeared that GridLiance decided that a showing of economic benefits,
         in terms of production cost savings, was not a necessary part of its benefits analysis,
         which led the Presiding Judge to not consider any such benefits.103 However, the
         Presiding Judge explained that the Commission did not require a showing of economic
         benefits in the Tri-State case, nor did the Eighth Circuit find one necessary in affirming
         the Commission.104

                            2.     Briefs on Exceptions

                 Participants argue that the Initial Decision points only to generic benefits to
         multiple zones and to specific concrete benefits to the City of Nixa only and fails to show
         any specific and tangible quantifiable benefits from the Nixa Assets to non-City of Nixa
         customers in Zone 10.105 NPPD also argues that there is no basis for the Presiding Judge
         to disregard any distinction between existing Zone 10 customers and the City of Nixa in

                99
                     Id. P 130.
                100
                      Id. PP 129-130.
                101
                      Id. P 130.
                102
                      Id. P 133.
                103
                      Id.
                104
                      Id.
                105
                   ARKMO Brief on Exceptions at 35; ITOs Brief on Exceptions at 40-46
         (providing a chart of the benefits found in the Initial Decision and whether those benefits
         accrued to non-City of Nixa Zone 10 customers); Trial Staff Brief on Exceptions at 30;
         NPPD Brief on Exceptions at 9-11.
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         reviewing benefits, given that it is the placement of the City of Nixa into Zone 10 that
         gives rise to the need for any evaluation.106 NPPD adds that the Presiding Judge erred in
         failing to quantify any benefits as required by Commission precedent.107 NPPD argues
         that the benefits from the Nixa Assets to Zone 10, to the extent such benefits exist at all,
         fail to meet the “roughly commensurate” standard set forth in ICC I.108

                 ITOs argue that in finding GridLiance’s shift factor analysis and an accompanying
         power transfer analysis demonstrate integration benefits that justify the cost shift, the
         Initial Decision proves too much; if nothing more than that level of integration is
         necessary to justify a local cost allocation then any cost allocation would be justified for
         any looped facility.109 ARKMO and ITOs argue that the integration benefits found in the
         Initial Decision were already found by the Commission to be insufficient to justify the
         costs of the facilities and remanded the proceeding to “engage in [the cost shift] issue
         more closely.”110

                 ARKMO argues that it does not benefit from a single 10-mile 69 kV delivery line
         that is over 200 miles away. ARKMO argues that the reliability benefits accrue primarily
         and almost exclusively to the City of Nixa. ARKMO argues that only the City of Nixa
         requires the Nixa Assets to reach its load, and the City of Nixa would “go dark” at
         “tremendous” cost without the Nixa Assets.111 ARKMO and Trial Staff state that the
         reliability analysis was unable to find non-trivial reliability benefits to Zone 10 because
         the analysis examined more than 38,000 contingencies and only identified 12 N-1-1
         meaningful contingencies, of which only one would cause a slight increase in
         overloading in one facility in Zone 10.112 Trial Staff notes that for the one overloaded




                106
                      NPPD Brief on Exceptions at 7.
                107
                      Id. at 10.
                108
                      Id. at 11 (citing ICC I, 576 F.3d at 470, 477).
                109
                      ITOs Brief on Exceptions at 47.
                110
                 ARKMO Brief on Exceptions at 37; ITOs Brief on Exceptions at 48 (quoting
         Remand Order, 174 FERC ¶ 61,116 at P 41).
                111
                      ARKMO Brief on Exceptions at 42 (quoting Tr. at 1272:7-15).
                112
                      Id. at 43; Trial Staff Brief on Exceptions at 42.
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         element found in Zone 10, the element is still overloaded even with the Nixa Assets in
         service.113

                ARKMO and ITOs argue that power transfer benefits accrue mainly to the City of
         Nixa. ARKMO argues that the Initial Decision ignores the weaknesses in the power flow
         evidence that it argued at hearing. ARKMO states that the metered flow data analysis
         showed that almost all the power that enters the Nixa Assets is consumed by the City of
         Nixa.114 The ITOs argue that the facts question whether flows through and out of the
         Nixa Assets are actually beneficial or are more like inadvertent loop flows that occur as
         an “unavoidable consequence” of interconnected utility operations, and are generally not
         compensable.115 The ITOs note that SPP’s load flow tests showed that no more than
         one percent of the flows serving ARKMO flow on the Nixa Assets.116

                 Additionally, ARKMO, ITOs, and Trial Staff argue that the shift factor analysis
         presented by Mr. Tsoukalis is hypothetical, does not reflect actual system operations,
         does not provide evidence of benefits substantially held by Zone 10, and does not provide
         a basis for determining how much of the total use of the assets is by the City of Nixa.117
         Trial Staff argues that the shift factor analysis showed only that power flows over an
         interconnected grid. ARKMO argues that testimony from its own witness, Mr. Puga,
         showed that the shift factor analysis provided by Mr. Tsoukalis for the Nixa Assets is
         smaller than the minimum thresholds commonly accepted in the industry as meaningful
         shift factor values.118 ITOs argue that any redundancy benefit provided by connection to
         two Balancing Authority Areas also accrues mostly to the City of Nixa.119

               Trial Staff notes that Mr. Tsoukalis admitted that his shift factor analysis would
         mean that the Nixa Assets provide benefits to customers in PJM Interconnection, L.L.C.


               113
                     Trial Staff Brief on Exceptions at 43 (citing Tr. at 1054:2-4).
               114
                     ARKMO Brief on Exceptions at 46; ITOs Brief on Exceptions at 60.
               115
                   ITOs Brief on Exceptions at 62-63 (citing E. Ky. Power Coop., Inc., 114 FERC
         ¶ 61,035, at P 33 (2006)).
               116
                     ITOs Brief on Exceptions at 62-63.
               117
                   ARKMO Brief on Exceptions at 49; ITOs Brief on Exceptions at 65; Trial Staff
         Brief on Exceptions at 50.
               118
                     ARKMO Brief on Exceptions at 49.
               119
                     ITOs Brief on Exceptions at 68.
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         (PJM) and throughout the Eastern Interconnection.120 Trial Staff also argues that the shift
         factor analysis used source-sink pairings that may never occur in real life. Trial Staff also
         argues that the comparability argument was misstated, as even if some Southwestern
         assets in Zone 10 have a smaller shift factor than the Nixa Assets there is no proof that
         those Southwestern assets have no reliability, maintenance, economic or other benefits to
         Zone 10 customers.121

                 Further, ARKMO argues that the Notice to Construct was issued after the filing in
         this docket, and involves Schedule 11 charges rather than the Schedule 9 ATRR, which is
         at issue here.122 Trial Staff also argues that neither SPP nor GridLiance established that
         the Notice to Construct project conferred integration or reliability benefits on non-City of
         Nixa Zone 10 customers.123 Trial Staff points to testimony from Mr. Locke that the
         benefitting load of the Notice to Construct upgrade includes the City of Nixa’s load.124
         Trial Staff also argues that the Nixa Assets’ integration and embeddedness with the entire
         SPP system was too generalized a benefit to rely upon, as the Commission already
         rejected relying upon benefits that are “general in nature and not specific to Zone 10
         customers” in the Order Rejecting Settlement.125

                 ARKMO notes that the Initial Decision does not respond to its argument that the
         failure of SPP and GridLiance to produce economic benefits or Locational Marginal Price
         benefits from the Nixa Assets to non-City of Nixa customers helps demonstrate that they
         have not met their burden.126

                ITOs also argue that there is no proof of planning benefits to non-City of Nixa
         Zone 10 customers, as the single incident noted by GridLiance only related to upgrades
         caused by overloads on the Nixa Assets. ITOs argue that the sort of broad scale planning
         collaboration found in Tri-State is not present here.127 Moreover, ITOs argue that any

                120
                      Trial Staff Brief on Exceptions at 51.
                121
                      Id. at 54.
                122
                      ARKMO Brief on Exceptions at 39.
                123
                      Trial Staff Brief on Exceptions at 56.
                124
                      Id. at 57 (citing Ex. SPP-0026 at 17:14-23).
                125
                      Id. at 60 (citing Remand Order, 174 FERC ¶ 61,116 at P 41).
                126
                      ARKMO Brief on Exceptions at 53.
                127
                      ITOs Brief on Exceptions at 49-50.
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         benefits related to future planning efforts are a red herring, as the costs of any resulting
         facilities will be recovered under Schedule 11 rather than the Schedule 9 costs at issue
         here.128 ITOs and Trial Staff also argue that there are no environmental benefits from the
         Nixa Assets, as all claimed environmental benefits are general and stem from the
         construction of the Notice to Construct project rather than the Nixa Assets themselves,
         nor was there any evidence in the record that the Nixa Assets were a key factor in the
         retirement of the James River Power Station.129 Additionally, Trial Staff notes that the
         history of the Nixa Assets shows that they were used to transport electricity created from
         fossil fuels, unlike the multi-value projects at issue in other proceedings.130

                 Trial Staff also argues that the Initial Decision’s finding that there was an
         economic benefit to lessening the likelihood that SPP would need to use corrective action
         plans conflicted with its finding that GridLiance had not demonstrated economic benefits
         in terms of production cost savings to Zone 10 customers.131 Trial Staff notes that the
         argument over corrective action plans was speculative, as no study was performed and
         the testimony was uncertain at best.132

                Trial Staff argues that the evidence regarding maintenance benefits pales in
         comparison with what was offered in the Tri-State proceeding.133 Trial Staff notes that
         neither SPP nor GridLiance has identified any maintenance project Southwestern could
         conceivably have in the future that would require the Nixa Assets to remain in service.

                 ARKMO, ITOs, and Trial Staff argue that the Initial Decision erred in finding that
         the benefits in this case were comparable to those found in the Tri-State case.134
         ARKMO, ITOs, and Trial Staff argue that there were several specific, concrete benefits
         found in Tri-State that do not exist here, including NPPD benefiting from Tri-State’s
         facilities by avoiding duplication of facilities; the historic joint transmission planning
         pursuant to a contractual arrangement between NPPD and Tri-State; and the fact that

                128
                      Id. at 51-52.
                129
                      Id. at 54; Trial Staff Brief on Exceptions at 47-48.
                130
                      Trial Staff Brief on Exceptions at 49.
                131
                      Id. at 43.
                132
                      Id. at 44.
                133
                      Id. at 45.
                134
                   ARKMO Brief on Exceptions at 56; ITOs Brief on Exceptions at 70; Trial Staff
         Brief on Exceptions at 24.
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         NPPD did not have a physical path to all of its loads without using Tri-State’s
         facilities.135 ARKMO argues that the Tri-State decision actually compels the conclusion
         that the cost shift here be ruled unjust and unreasonable.

                 ITOs argue that the Initial Decision’s comparison to Tri-State was in error because
         such comparison reduced the case to a single-question test: is the facility at issue a
         networked facility? This test, the ITOs argue, would obviate the need for a case-by-case
         review of zonal networked facilities.136 ITOs and Trial Staff argue that the Initial
         Decision ignores key distinctions between this proceeding and the one in Tri-State,
         including a contractual arrangement in Tri-State that demonstrated that the facilities at
         issue were built to serve customers of both Tri-State and NPPD.137 Trial Staff notes that
         both NPPD and Tri-State could not reach their customers without using the other’s
         facilities, which is not the case for the Nixa Assets.138 Trial Staff further argues that the
         contractual arrangement meant that NPPD and Tri-State operated as a single entity.139

                 Trial Staff argues that the Initial Decision erred in finding that the City of Nixa is
         among those Zone 10 customers that can be considered when determining if there are
         more than incidental or trial benefits.140 Trial Staff argues that cost causation principles
         require that the cost shift be evaluated for parties who will now bear a part of the costs of
         the Nixa Assets. Trial Staff notes that a cost shift occurs when a zonal placement “causes
         rates for one set of network customers to increase, and rates for other customers to
         decrease.”141 Trial Staff also notes the decision in Allegheny as another reason not to
         believe that the Commission intended to include benefits to the City of Nixa in this
         case.142 Trial Staff argued that the Commission in that proceeding evaluated the benefits



                135
                      ARKMO Brief on Exceptions at 56-58.
                136
                      ITOs Brief on Exceptions at 70-71.
                137
                      Id. at 72-74; Trial Staff Brief on Exceptions at 24-26.
                138
                      Trial Staff Brief on Exceptions at 25.
                139
                      Id. at 26.
                140
                      Id. at 27.
                141
                      Id. at 29 (citing Initial Decision, 177 FERC ¶ 63,021 at P 43).
                142
                   Id. at 30 (citing PJM Interconnection, L.L.C., 94 FERC ¶ 61,295, at 62,074
         (2001) (Allegheny)).
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         to the non-Allegheny customers in the PPL Group Zone in PJM rather than justifying it
         based on benefits to Allegheny.143

                           3.   Briefs Opposing Exceptions

                GridLiance, SPP, and City Utilities assert that the Initial Decision correctly
         concluded that the Nixa Assets provide significant benefits to Zone 10 as a whole and
         specifically to non-City of Nixa customers.144 GridLiance asserts that ITOs’ and
         ARKMO’s arguments that the Commission determined that integration benefits alone
         cannot justify a cost shift mischaracterize Commission orders in this proceeding. 145
         GridLiance argues that the Nixa Assets provide the traditional integration benefits
         outlined in the Commission’s Mansfield test and that no party disputes the corresponding
         benefits that the Nixa Assets provide to all Zone 10 customers.146 SPP states that,
         consistent with prior zonal placement cases,147 the Presiding Judge found that the “most
         compelling” evidence of benefits are the integration benefits.148

                GridLiance asserts that the Presiding Judge correctly held that the Nixa Assets
         provide reliability benefits that accrue specifically to Zone 10 customers.149 GridLiance
         argues that reliability benefits occur any time a transmission asset helps avoid load
         shedding or other costly corrective actions, and that under several N-1-1 contingency
         conditions, the Nixa Assets reduce or eliminate the need for corrective actions.150
         GridLiance argues that ITOs fail to rebut the argument that an N-1-1 contingency does


               143
                     Id.
               144
                    GridLiance Brief Opposing Exceptions at 27; SPP Brief Opposing Exceptions
         at 16; City Utilities Brief Opposing Exceptions at 7.
               145
                     GridLiance Brief Opposing Exceptions at 31.
               146
                   Id. at 29 (citing Mansfield Mun. Elec. Dept., Opinion No. 454, 97 FERC
         ¶ 61,134, at 61,613 (2001), reh’g denied, Opinion No. 454-A, 98 FERC ¶ 61,115 (2002)
         (Mansfield)).
               147
                   SPP Brief Opposing Exceptions at 16 (citing Initial Decision, 177 FERC
         ¶ 63,021 at P 155).
               148
                     Id. (quoting Initial Decision, 177 FERC ¶ 63,021 at P 123; Tr. at 109:13-17).
               149
                     GridLiance Brief Opposing Exceptions at 40.
               150
                     Id. at 40-41.
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         not have to be in Zone 10 for Zone 10 customers to benefit.151 Additionally, GridLiance
         asserts that without the Nixa Assets, the system will not be N-1 secure if one of the
         facilities in the N-1-1 contingency is out for maintenance.152

                 GridLiance argues that ITOs and ARKMO misconstrue the metered power flow
         analysis on which the Presiding Judge found that power transfer benefits extend beyond
         the City of Nixa to non-City of Nixa customers.153 GridLiance argues that ITOs ignore
         flows out of Zone 10, give no reason for why only flows into Zone 10 matter, and
         conflate net flows as shown in the metered data with the flows shown in the shift factor
         analysis.154 GridLiance asserts that including the counterflows in the averaging of the
         metered data, as ARKMO suggests, exemplifies the problem of over-relying on the
         metered flow data to determine what power flows on the Nixa Assets.155 Additionally,
         SPP contends that, using ARKMO’s power flow analysis of the Nixa Assets, the Nixa
         Assets are no different from transmission facilities that are directly connected to and
         serving ARKMO and that the City of Nixa receives similar reliability benefit from
         facilities connected to ARKMO as ARKMO claims it receives (or does not receive) from
         the Nixa Assets.156

                GridLiance opposes the argument from ITOs and ARKMO that flows modeled by
         Mr. Tsoukalis do not show what portion of the total flows serve the City of Nixa
         compared to other Zone 10 load.157 GridLiance cites Allegheny to argue that the
         Commission rejected similar arguments when it held that the transmission line at issue
         did not have to be the “exclusive” path to deliver energy and that alternative paths to
         deliver energy do not undermine the analysis.158 Additionally, GridLiance rebuts
         arguments from ITOs that the shift factor results identified by Mr. Tsoukalis are too small



                151
                      Id. at 34-35.
                152
                      Id. at 35.
                153
                      Id. at 44.
                154
                      Id. at 46-47.
                155
                      Id. at 47.
                156
                      SPP Brief Opposing Exceptions at 48-49 (citing Ex. SPP-006 at 25:1-27:2).
                157
                      GridLiance Brief Opposing Exceptions at 48.
                158
                      Id. at 48-49 (citing Allegheny, 95 FERC at 61,721).
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         by arguing that there is no industry standard minimum threshold for shift factors.159
         GridLiance asserts that the Initial Decision correctly rejected arguments from ITOs and
         ARKMO that the shift factor is unreliable and that any flows through and out of the Nixa
         Assets are inadvertent loop flows.160

                 SPP contends that the Presiding Judge correctly found that evidence of a Notice to
         Construct demonstrated a reliability benefit to Zone 10.161 GridLiance and SPP agree
         that the City of Nixa did not cause the need for the Notice to Construct Project, but rather
         that SPP issued the Notice to Construct to GridLiance to address transmission line
         overloads resulting from the retirement of a City Utilities-owned power station.162 SPP
         and GridLiance argue that if SPP did not have functional control of the Nixa Assets, or if
         the Nixa Assets were not included in Zone 10, SPP faced less efficient and more costly
         alternatives to address the overload issue in Zone 10.163 SPP explains that the fact that
         the Nixa Assets are located in Zone 10 means that the costs associated with the upgrade
         are also recovered in Zone 10 rates, which results in an appropriate alignment of the cost
         of the transmission solution with the zone in which the issue of the excess flows
         originated.164 SPP asserts that the Notice to Construct ultimately validates the Zonal
         Placement Process and that SPP’s criteria resulted in a zonal placement in this proceeding
         that aligned with cost causation by ensuring that the cause of a reliability issue and the
         solution are located in the same Zone.165

               SPP states that Trial Staff misconstrues SPP’s argument by observing that the City
         of Nixa caused the need for the Nixa Assets,166 but SPP notes that the Presiding Judge
         found evidence of reliability, integration, and power flow benefits to Zone 10 from the

                159
                      Id. at 50.
                160
                      Id. at 52.
                161
                   SPP Brief Opposing Exceptions at 28 (quoting Initial Decision, 177 FERC
         ¶ 63,021 at P 125).
                162
                   GridLiance Brief Opposing Exceptions at 32; SPP Brief Opposing Exceptions
         at 29-30 (citing Ex. SPP-0026 at 16:1-13; Ex. SPP-018 at 1; Tr. at 110:9-111:1).
                163
                   GridLiance Brief Opposing Exceptions at 33; SPP Brief Opposing Exceptions
         at 30 (quoting Ex. SPP-0026 at 17:3-14).
                164
                      SPP Brief Opposing Exceptions at 30 (quoting Ex. SPP-0026 at 17:3-14).
                165
                      Id. at 28-29, 31.
                166
                      Id. at 33 (citing Trial Staff Brief on Exceptions at 59).
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         Nixa Assets and thus appropriately found that Zone 10 should contribute to the costs of
         these facilities.167 SPP argues that, contrary to Trial Staff’s arguments, the cause of the
         Notice to Construct project was Zone 10, which is further evidence that SPP’s placement
         of the Nixa Assets in Zone 10 adhered to the cost causation principle.168

                 SPP asserts that the Presiding Judge rightly concluded that the fact that many of
         the benefits in this proceeding are unquantifiable does not render them trivial or
         otherwise less meaningful in evaluating whether SPP’s proposed zonal placement is just
         and reasonable.169 SPP maintains that benefits cannot always be, and do not need to be,
         quantified, which has been recognized by the Commission and the courts.170 SPP states
         that benefits cannot always be quantified in such a way as to make a cost-benefit analysis
         accurate or useful and emphasizes that SPP does not conduct a cost-benefit analysis as
         part of the Zonal Placement Process, nor has the Commission mandated it to do so.171
         SPP argues that its approach properly reflects both the limited role of SPP as an
         independent RTO and the Commission’s exclusive rate-setting authority, and that
         precedent states that the Commission need not quantify benefits.172

                GridLiance asserts that the Presiding Judge correctly refrained from distinguishing
         the City of Nixa from non-City of Nixa customers within Zone 10 and that the
         Commission did not require such a distinction to be made.173 City Utilities states that
         ARKMO’s argument that the Initial Decision failed to carefully scrutinize the costs and
         benefits among the City of Nixa and non-City of Nixa facilities in Zone 10 amounts to
         “misdirection” designed to hide ARKMO’s chief complaint that it does not get as much
         benefit as other Zone 10 facilities.174 SPP argues that the Presiding Judge’s rejection of
         the “City of Nixa versus non-City of Nixa” premise is well grounded both in the SPP
         Tariff and the record, as under the Tariff, all customers in a pricing zone pay a rate based

                167
                      Id.
                168
                      Id. at 33-34.
                169
                      Id. at 25-26.
                170
                    Id. at 26-27 (quoting Neb. Pub. Power Dist. v. FERC, 957 F.3d 932, 941
         (8th Cir. 2020) (NPPD v. FERC)).
                171
                      Id. at 27.
                172
                      Id. at 28 (citing Ex. SPP-0026 at 12:19-21).
                173
                      GridLiance Brief Opposing Exceptions at 56.
                174
                      City Utilities Brief Opposing Exceptions at 7-8.
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         on the ATRRs associated with all facilities in that zone, regardless of which facilities
         may have previously been used to provide service to a specific customer prior to the
         customer or the Transmission Owner joining the RTO.175 SPP argues that the Tariff and
         zonal rate constructs generally do not take such a customer-by-customer,
         facility-by-facility approach.176 SPP further notes that there is no single, monolithic
         “non-City of Nixa” group of customers, which supports the fact that all Zone 10
         customers, including the City of Nixa, pay their load ratio share of the costs of all
         Zone 10 facilities, regardless of whether they derive the same benefits from individual
         facilities that other Zone 10 customers derive from those facilities.177

                 SPP argues that it provided extensive evidence in support of its proposal to place
         the Nixa Assets in Zone 10, and while this evidence was not relied upon by the Presiding
         Judge, it provides context and lends additional support for the conclusion that SPP’s
         proposal to place the Nixa Assets in Zone 10 is just and reasonable.178 SPP also argues
         that it provided key evidence that its decision to place the Nixa Assets in the same Zone
         as the City of Nixa load is consistent with Commission policy.179 SPP states that its
         “matching” of the load and assets in this case is consistent with the Commission’s
         “Section 30.9” policy that allows Transmission Customers to receive billing credits if
         transmission facilities they own are integrated with the Transmission System, provided
         that they are paying rates within that same Zone,180 which supports SPP’s decision to
         include both the Nixa Assets and the City of Nixa load in the same Zone.181 SPP states
         that all that is required to obtain section 30.9 credits is a showing of integration, and the
         SPP Tariff contains a presumption of integration that may have applied had the City of
         Nixa sought section 30.9 credits.182




                175
                      SPP Brief Opposing Exceptions at 23.
                176
                      Id. at 24.
                177
                      Id. at 25.
                178
                      Id. at 35.
                179
                      Id. at 37.
                180
                      Id. at 38 (citing Tr. at 618:3-22).
                181
                      Id. (citing Tr. at 1625:1-5).
                182
                      Id.
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                 SPP states that the Initial Decision rightly concluded that the differences between
         the instant proceeding and Tri-State are “immaterial factual differences.”183 SPP asserts
         that, though the two proceedings have factual differences, that does not mean that the
         proposal to place the Nixa Assets in Zone 10 in this case is unjust and unreasonable.184
         SPP contends that the types of benefits that the Commission found in Tri-State are
         analogous to the types of benefits that the Presiding Judge found in the Initial
         Decision.185 SPP explains that, specifically, in Tri-State, the Commission found
         integration benefits and reliability benefits that supported the decision to place the
         Tri-State transmission facilities in Zone 17.186 SPP further explains that, here, the
         Presiding Judge found that SPP and GridLiance demonstrated integration and reliability
         benefits from the Nixa Assets in Zone 10.187 SPP concludes that Tri-State demonstrates
         the types of benefits that may justify a zonal placement,188 and that the record fully
         supports a finding that the types of benefits present in Tri-State are also present here.189

                          4.     Commission Determination

                We affirm the Presiding Judge’s finding that the Nixa Assets provide benefits that
         accrue to Zone 10 customers. As we discuss more fully below, the record supports the
         finding that the Nixa Assets provide integration, reliability, and power transfer benefits to
         Zone 10 customers.

                 The main argument raised on exceptions is that the benefits that the Nixa Assets
         provide allegedly accrue mostly, if not entirely, to the City of Nixa rather than other
         Zone 10 customers. We find that the Presiding Judge properly evaluated the benefits of
         the Nixa Assets to all Zone 10 customers – including the City of Nixa – rather than
         restricting his findings to non-City of Nixa customers. The City of Nixa no longer owns
         the Nixa Assets, and did not own them at the time it joined SPP. As a member of
         Zone 10, the City of Nixa will pay for a portion of the cost of the Nixa Assets, the same
         as other members. Additionally, as SPP points out, under SPP’s zonal rate design, all

                183
                      Id. at 40 (quoting Initial Decision, 177 FERC ¶ 63,021 at P 157).
                184
                      Id. at 40-41 (citing Ex. ARK-0076 at 72:24-73:8).
                185
                      Id. at 41-42.
                186
                      Id. at 42 (citing Tri-State, 163 FERC ¶ 61,109 at PP 106-14, 192).
                187
                      Id.; see Initial Decision, 177 FERC ¶ 63,021 at PP 123-125.
                188
                      SPP Brief Opposing Exceptions at 42.
                189
                      Id. at 42-43.
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         customers in a pricing zone pay a rate based on the ATRRs associated with all
         transmission facilities in that zone, regardless of which facilities may have previously
         been used to provide service to a specific customer prior to the customer or the
         Transmission Owner joining the RTO.190 Thus, it was appropriate for the Presiding
         Judge to consider the benefits of the Nixa Assets to all Zone 10 customers, including the
         City of Nixa.

                We also note that in rejecting the contested settlement in this proceeding the
         Commission required a showing of benefits to Zone 10 customers as a whole rather than
         to one customer or group of customers.191 In the order on rehearing, the Commission
         noted: “In particular, there is a dispute over whether all Zone 10 customers, including
         any non-ARKMO Cities customers in that zone, are negatively impacted in a way that
         does not outweigh the benefits of placing the Nixa Assets in that zone.”192 We do not
         require that benefits be separately calculated for each customer, but benefits must be
         roughly commensurate to the costs incurred. Accordingly, we evaluate both the benefits
         to Zone 10 customers as a whole and whether those benefits are shared among customers
         within the zone.

                 We agree with the Presiding Judge that the Nixa Assets provide integration
         benefits to customers in Zone 10. The Nixa Assets are integrated with the SPP
         transmission system, are available for use by SPP network transmission service
         customers, and provide an additional path for power flows that could be used by other
         customers in Zone 10 to serve load or access the market.193 The Nixa Assets serve as a
         tie between two BAAs and between two transmission pricing zones in the SPP
         footprint.194 The southern end of the Nixa Assets is located in the Southwestern BAA
         and Zone 10. The northern end of the Nixa Assets is in the service territory of City
         Utilities, which is in the SPP BAA and part of Zone 3. The Nixa Assets create a link



               190
                     See id. at 23.
               191
                    See Remand Order, 174 FERC ¶ 61,116 at P 41 (“we are not convinced that the
         record in this case shows that sufficient benefits will accrue to Zone 10 customers to
         justify the Settlement.”); id. P 43 (“we are unable to determine that customers as a whole
         within Zone 10 will benefit from the Settlement.”).
               192
                     Remand Rehearing Order, 175 FERC ¶ 61,235 at P 43.
               193
                    Initial Decision, 177 FERC ¶ 63,021 at P 100 (citing GridLiance Supplemental
         Initial Brief at 47-48 (citing Ex. GHP-0250 at 21:4-6)).
               194
                     See Ex. GHP-0229 at 4:13-5:2; Ex. GHP-0234 at 4:15-5:2.
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         between the Southwestern BAA and the SPP BAA, and between Zones 3 and 10.195 As
         the Initial Decision notes, by having these two BAAs and SPP pricing zones connected
         by transmission facilities that are now under SPP’s control, there is an integration benefit
         to Zone 10 customers and “those facilities can be planned more effectively and operated
         more reliably than being outside the function and control of the RTO.”196

                Participants on exceptions argue that these integration benefits go to the City of
         Nixa rather than to other Zone 10 customers. We disagree. The benefits discussed above
         improve the ability of SPP to serve all of the customers of Zone 10. Evidence presented
         at hearing shows that the Nixa Assets being integrated into SPP means they are part of
         the system-wide planning models and can be used in central dispatch for the benefit of
         Zone 10 customers.197 Parties also presented testimony to show that the integration of the
         Nixa Assets assisted in the coordination of maintenance by allowing SPP to take outages
         on certain facilities during peak conditions without having to wait for lower load
         conditions.198 These benefits do not go entirely to the City of Nixa, as participants argue
         on exceptions.

                 The Presiding Judge also determined that the Nixa Assets provide reliability
         benefits to Zone 10. While we agree, we find that the record in this proceeding
         demonstrates that those benefits are limited. The Presiding Judge noted that
         Mr. Tsoukalis’s N-1-1 contingency analysis established the reliability benefit of the Nixa
         Assets, supported the finding that the benefit accrues specifically to Zone 10 customers,
         and showed that “the Nixa Assets’ contribution to N-1-1 contingencies has value in terms
         of lowering SPP’s need to rely on [corrective action plans].”199 All parties agree that the
         Nixa Assets provide significant reliability benefits to the City of Nixa. As ARKMO
         notes, in the absence of the Nixa Assets the City of Nixa could “go dark” at significant
         cost.200 However, we agree that the evidence presented of reliability benefits to non-City
         of Nixa customers is limited. As ARKMO and ITOs note, the contingency analysis

                195
                      Ex. GHP-0234 at 4:15-5:2.
                196
                      Initial Decision, 177 FERC ¶ 63,021 at P 124 n.229 (quoting Tr. 109:13-17).
                197
                   See GridLiance Brief Opposing Exceptions at 39 (citing Ex. GHP-0229
         at 12:5-13:2; Ex. SPP-0026 at 18:1-9).
                198
                      See Ex. GHP-0234REV at 21:11-21.
                199
                   Initial Decision, 177 FERC ¶ 63,021 at P 125. An N-1-1 contingency analysis
         considers the consecutive loss of two elements in a power system, distinct from an N-1
         analysis, which evaluates the reliability effects of the loss of one element.
                200
                      See ARKMO Brief on Exceptions at 42.
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         found that the Nixa Assets helped to address only one contingency within Zone 10, and
         even in that case they provided only a limited reliability benefit. As such, we find that
         there is a reliability benefit from the Nixa Assets to Zone 10, but it is a limited benefit to
         the zone as a whole. Notwithstanding this limited reliability benefit to the Zone as a
         whole, we find adequate evidence, as shown above, to uphold the Presiding Judge’s
         finding.

                 The Presiding Judge found that the Notice to Construct project did not constitute a
         separate benefit but served as anecdotal evidence in support of the integration and
         reliability benefits for Zone 10 customers from the Nixa Assets. We agree. Evidence
         presented at the hearing showed that Zone 10 load had benefitted from certain generating
         units that created counterflow from Zone 10 transmission facilities. Following the
         retirement of the generating units, SPP determined that flow in Zone 10 was causing an
         overload and, as a result, that upgrades to the Nixa Assets were necessary to resolve the
         problem. The integration of the Nixa Assets facilitated the development and
         implementation of the Notice to Construct project.201 As discussed above, we find that
         the Schedule 11 costs associated with the Notice to Construct are not relevant to this
         proceeding, which addresses Schedule 9 costs associated with the inclusion of the Nixa
         Assets into Zone 10. However, we find that the Notice to Construct provides evidence of
         the integration benefits of the Nixa Assets to Zone 10 as the integration of the Nixa
         Assets into the SPP footprint within Zone 10 allowed SPP to plan more efficient upgrades
         to preserve reliability on the system.

                 Participants on exceptions argue that GridLiance failed to meet its burden to show
         economic benefits from the Nixa Assets to Zone 10 customers. We affirm the Initial
         Decision’s finding that a showing of economic benefits was not necessary.202 While
         economic benefits may be relevant evidence to show that the costs of transmission
         facilities are allocated in a manner that is at least roughly commensurate with the benefits
         that they provide, the Commission has never required the showing of any particular
         benefit to support inclusion of transmission facilities in a zone.

                Participants on exceptions argue that the Initial Decision erred in failing to provide
         a quantification of the benefits. We agree that it is useful to quantify benefits in
         proceedings involving the integration of existing transmission facilities into an RTO,
         especially when attempting to compare them to a cost shift dollar figure. However,
         quantification of benefits is not necessary to a finding that benefits are roughly



                201
                  Initial Decision, 177 FERC ¶ 63,021 at P 125 n.233; SPP Brief Opposing
         Exceptions at 29-32 (citing Ex. SPP-0026 at 16:1-13, 17:3-14).
                202
                      Initial Decision, 177 FERC ¶ 63,021 at P 133.
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         commensurate to costs. As the Eighth Circuit stated when reviewing the Commission’s
         orders in Tri-State:

                            NPPD emphasizes that neither FERC nor Tri-State attempted
                            to numerically quantify the benefits of placing Tri-State into
                            Zone 17. However, [ICC I] does not support the proposition
                            that FERC must articulate a precise numerical value of
                            benefits. The [Seventh Circuit] did not suggest that [FERC]
                            has to calculate benefits to the last penny, or for that matter to
                            the last million or 10 million or perhaps 100 million dollars.
                            Rather, FERC must articulate more benefits than the no
                            benefits or trivial benefits in [ICC I].203

                As we discuss further below, we find that there are more than trivial benefits from
         the inclusion of the Nixa Assets in Zone 10, as required by controlling precedent.

                C.          Costs vs. Benefits

                            1.     Initial Decision

                The Presiding Judge concluded that the weight of the evidence in the record,
         relevant precedent, and logic support the finding that the benefits of the Nixa Assets to
         Zone 10 customers justify the cost shift involved.204

                 The Presiding Judge noted that neither the Commission nor the courts have
         detailed the precise mechanics of comparing cost shifts and benefits.205 Following the
         Presiding Judge’s determination that virtually every witness agreed that the benefits
         identified in this case are unquantifiable, and therefore a simple dollar-for-dollar
         comparison is not possible, the Presiding Judge decided to compare the findings in this
         case on cost shift and benefits with similar findings in cases where the Commission found
         the benefits and cost shifts were roughly commensurate.206 The Presiding Judge found
         this approach to be logical and legally sound.207


                203
                      NPPD v. FERC, 957 F.3d at 941 (internal quotations omitted).
                204
                      Initial Decision, 177 FERC ¶ 63,021 at P 153.
                205
                      Id. P 154.
                206
                      Id.
                207
                      Id.
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                 The Presiding Judge found that the most closely comparable precedent to this case
         is the Tri-State case in which the Commission upheld as just and reasonable the
         placement of Tri-State’s assets into SPP’s Zone 17.208 In making this determination, the
         Presiding Judge noted that NPPD challenged the placement of Tri-State’s assets, and at
         every level, the Presiding Judge, the Commission, and the Eighth Circuit found that the
         benefits justified the $4.3 million cost shift.209 The Presiding Judge found that the
         benefits in this case are very similar to those benefits identified in Tri-State, and if similar
         benefits are roughly commensurate with the $4.3 million cost shift in Tri-State, then they
         should be more than sufficient to justify the lower cost shift in this proceeding.210

                The Presiding Judge recognized that some participants disputed whether the
         benefits alleged in this case are comparable to the benefits identified in Tri-State.211 In
         response, the Presiding Judge stated that attempts to distinguish the Tri-State benefits
         from the benefits identified in this case highlight immaterial factual differences rather
         than making meaningful distinctions.212 The Presiding Judge stated that, in Tri-State, the
         Commission relied on one method of proving the integration benefits while this case
         relied on witness testimony and analysis, other documentary evidence, and party
         admissions.213 This difference, the Presiding Judge stated, does not detract from the
         overall conclusion that both records support similar integration and power transfer
         benefits.214 Similarly, the Presiding Judge stated that it is a proper application of
         precedent to draw legal conclusions after comparing the facts in this case to those in
         Tri-State because the comparison is expected and is not barred by limitations in the
         record or by law of the case.215

                When considering the roughly commensurate test, the Presiding Judge found that
         neither the Commission nor the various courts of appeal have required the precise
         proportionate distribution of cost shifts and benefits that ITOs and ARKMO claim is

                208
                      Id. P 155.
                209
                      Id.
                210
                      Id.
                211
                      Id. P 156.
                212
                      Id. P 157.
                213
                      Id.
                214
                      Id.
                215
                      Id. P 160.
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         required.216 The Presiding Judge stated that ITOs’ formulation of the roughly
         commensurate standard would require the precise quantification of the distribution of
         benefits among customers that the Seventh Circuit explicitly did not require when it
         provided the roughly commensurate test in ICC I.217 Additionally, the Presiding Judge
         noted that the Commission, in the Tri-State record, had a cost shift percentage estimate
         showing that NPPD would be required to pay 60% of the cost of the Tri-State facilities in
         Zone 17, yet in none of the decisions in the case did the Presiding Judge, the
         Commission, or the Eighth Circuit discuss the need to find that NPPD received 60% of
         the benefits in order to find that the benefits were roughly commensurate with the cost
         shift.218 The Presiding Judge stated that, in NPPD v. FERC, the Eighth Circuit upheld the
         Commission’s finding that there was an articulable and plausible reason to believe that
         the benefits were roughly commensurate with the costs without quantifying the
         benefits.219 The Presiding Judge concluded that ITOs’ reading of the roughly
         commensurate benefits standard had questionable legal support and made little logical or
         economic sense.220

                 After finding that the benefits that accrue to Zone 10 customers from the Nixa
         Assets justify the cost shift, the Presiding Judge determined that alternate justifications
         for the cost shift and/or rate impact are unnecessary.221 The Presiding Judge stated that
         SPP’s reliance on a simple comparison of the revised Zone 10 rates to those in other
         zones is insufficient because it does not offer cost analysis safeguards or ensure that
         Zone 10 rates comport with cost causation principles.222 Similarly, the Presiding Judge
         found that GridLiance’s attempt to compare the rate impact of including GridLiance’s
         ATRR in Zone 10 rates with hypothetical rate impacts unavailing because such
         comparisons do not answer whether the actual cost shift in this case is justified by the
         benefits in accordance with cost causation principles.223


                216
                      Id. PP 161-162.
                217
                      Id. P 165.
                218
                      Id. P 166.
                219
                      Id. P 167.
                220
                      Id. P 168.
                221
                      Id. P 172.
                222
                      Id. P 173.
                223
                      Id.
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                        2.     Briefs on Exceptions

                 ARKMO and ITOs argue that the Initial Decision misapplies precedent on cost
         causation, misunderstands the “roughly commensurate” standard, and fails to apply the
         cost-benefit analysis required by the Commission and mandated by the roughly
         commensurate test.224 ARKMO states that the court in ICC I found that while the
         Commission could presume that new transmission lines benefit the entire network, the
         Commission “cannot use the presumption to avoid the duty of comparing the costs
         assessed against a party to the burdens imposed or benefits drawn by that party.”225
         ARKMO and ITOs argue that roughly commensurate means roughly proportionate, even
         if the proportions are not precisely determinable, and thus the costs of the Nixa Assets
         should be allocated proportionate to their use, based upon the decision in ICC I.226

                 ARKMO points to the precedent in ODEC, where the D.C. Circuit found that it
         was “grossly disproportionate” to require a customer receiving 47% of benefits from
         one project and 43% from another to pay all of the costs of both projects.227 ITOs argue
         that this proportionality requirement is rooted in the fundamental principle that rates
         should be fair. By contrast, ITOs argue that the Initial Decision’s rejection of
         proportionality was based upon an incorrect conflation with precision; ITOs acknowledge
         that cost allocation cannot always be precise, but it can still be reviewed to determine
         whether it is grossly disproportionate.228

                ARKMO argues that the evidence in the record supports a finding of trivial and
         incidental benefits at most to the non-City of Nixa customers in Zone 10,229 and ITOs
         argue that SPP and GridLiance as proponents have failed to meet their burden to quantify
         any benefits supporting the rate proposal. ITOs argue that the claim that it is not




               224
                     ARKMO Brief on Exceptions at 59; ITOs Brief on Exceptions at 20.
               225
                     ARKMO Brief on Exceptions at 60 (quoting ICC I, 576 F.3d at 477).
               226
                     Id. at 64; ITOs Brief on Exceptions at 20.
               227
                  ARKMO Brief on Exceptions at 65 (quoting Old Dominion Elec. Coop.,
         898 F.3d 1254, 1260-63 (D.C. Cir. 2018) (ODEC)).
               228
                     ITOs Brief on Exceptions at 23.
               229
                     ARKMO Brief on Exceptions at 70-73.
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         necessary to quantify benefits was rejected by the Seventh Circuit, which required the
         Commission to make some effort to quantify benefits.230

                ARKMO argues that the Initial Decision erred in rejecting the cost causation
         principle that rates must reflect in some degree the costs actually caused by the customer
         who pays them. ARKMO argues that since 1966, when the City of Nixa began
         constructing a transmission and distribution system, the Nixa Assets were built solely for
         the use of the City of Nixa.231 ARKMO states that the Initial Decision is correct that
         Attachment AD of the SPP Tariff does not govern the placement here because it does not
         address whether cost shifts are justified by the benefits of the facilities at question.
         However, ARKMO argues that the Initial Decision failed to address its argument that by
         relying on Attachment AD to make its placement decision, SPP failed to conduct a
         cost-causation or cost-benefit analysis and was thus unjust, unreasonable, and unduly
         discriminatory.232

                 ITOs argue that the benefits to non-City of Nixa Zone 10 customers are not
         roughly commensurate to the costs, and argue that none of the four GridLiance or SPP
         witnesses testified that the benefits from the Nixa Assets to non-City of Nixa Zone 10
         customers were roughly commensurate with the cost allocation proposal.233 ITOs argue
         that the parties with the burden of proof have failed to provide the required comparative
         analysis, and in every circumstance there is an inverse relationship between the party that
         receives the benefits from the Nixa Assets (the City of Nixa) and the parties that pay the
         costs (non-City of Nixa Zone 10 load).234 ITOs argue that the precedent in Tri-State
         shows that the cost shift here is unjust and unreasonable, as there is no mutual agreement
         to plan and coordinate the development of the Nixa Assets as there was in Tri-State.235
         ITOs also argue that the Commission cannot rely upon SPP’s Zonal Placement Process,
         as it was not filed at the Commission and SPP did not follow it properly by not assessing
         the cost shifts as part of its process.236


                230
                      ITOs Brief on Exceptions at 26 (citing ICC II, 756 F.3d at 562-63).
                231
                      ARKMO Brief on Exceptions at 78.
                232
                      Id. at 81-83.
                233
                      ITOs Brief on Exceptions at 75.
                234
                      Id. at 76-77.
                235
                      Id. at 79-80.
                236
                      Id. at 82.
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                          3.        Briefs Opposing Exceptions

                SPP, GridLiance, and City Utilities state that the Commission should deny the
         exceptions taken by participants on exceptions and affirm the Initial Decision’s
         conclusion that correctly found that SPP’s proposal to place the Nixa Assets in Zone 10 is
         just and reasonable and that SPP’s filing in this proceeding is just and reasonable.237 SPP
         asserts that the sole issue before the Commission is whether the Initial Decision correctly
         found that sufficient evidence exists to demonstrate that SPP’s proposed placement of the
         Nixa Assets in SPP pricing Zone 10 is just and reasonable.238 GridLiance asserts that
         many of the benefits provided by the Nixa Assets are undisputed and that they are
         roughly commensurate with the costs incurred by Zone 10 customers.239 For the disputed
         benefits, GridLiance argues that the opposing parties claim that they do not exist or that
         they are too small to matter by advancing invalid arguments and either providing no
         support or misconstruing record evidence.240

                 SPP asserts that it has developed a detailed process for determining how best to
         add a new transmission owner and that transmission owner’s transmission facilities to the
         SPP system, either through a new transmission pricing zone or inclusion in existing
         pricing zones.241 SPP states that this process, SPP’s Zonal Placement Process, is set forth
         in a document that has been endorsed by SPP’s Board of Directors.242 SPP further states
         that the Commission has acknowledged that SPP’s criteria to determine zonal placement
         are appropriate in light of SPP’s role as an independent RTO.243

               In this case, SPP explains that it proposed to place transmission facilities owned
         by GridLiance (and the associated ATRR) into Zone 10, with the costs recovered through

                237
                    SPP Brief Opposing Exceptions at 1; GridLiance Brief Opposing Exceptions
         at 1; City Utilities Brief Opposing Exceptions at 1.
                238
                      SPP Brief Opposing Exceptions at 6-7.
                239
                      GridLiance Brief Opposing Exceptions at 1.
                240
                      Id. at 1-2.
                241
                   SPP Brief Opposing Exceptions at 9-10 (citing Sw. Power Pool, Inc.,
         106 FERC ¶ 61,110, at P 115, order on reh’g, 109 FERC ¶ 61,010 (2004); E. Tex. Elec.
         Coop., Inc., 118 FERC ¶ 61,153, at P 4 (2007); Ex. SPP-001 at 10:4–11).
                242
                      Id. at 10.
                243
                 Id. (citing ITOs Complaint Order, 162 FERC ¶ 61,213 at P 62, reh’g denied,
         165 FERC ¶ 61,005, at P 23 (2018); NPPD v. FERC, 957 F.3d at 932, 941).
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         Schedule 9 of the Tariff.244 SPP asserts that the costs of all Schedule 9 transmission
         facilities in Zone 10 are recovered under that schedule from all Zone 10 customers,
         including the City of Nixa, even though the incumbent Transmission Owner in that Zone
         (i.e., Southwestern) was not required to demonstrate that each of its facilities that are
         included in Zone 10 Schedule 9 rates benefits each customer in the Zone, including the
         City of Nixa.245 City Utilities disagree with ARKMO’s assertion that the correct
         application of the roughly commensurate standard requires the Initial Decision to apply a
         detailed cost benefit analysis to all facilities in Zone 10.246 SPP argues that no other SPP
         Transmission Owner has had to show that each of its transmission facilities that it
         includes in zonal rates provides unique or specific benefits to each customer in the
         Zone.247 SPP argues that ITOs demand that SPP and/or GridLiance prove specific
         benefits to specific customers, but ITOs did not have to make similar showings to include
         all of their transmission facilities in Schedule 9 zonal rates to be recovered from all of the
         customers in those Zones.248

                 SPP argues that ITOs and Trial Staff raise “policy considerations” that lack
               249
         merit.    SPP states that ITOs claim the Initial Decision will “send an economic signal to
         low-cost transmission owners not to join SPP, for fear of being on the losing end of such
         a cost shift themselves,” and that such a signal will jeopardize SPP’s growth.250 SPP
         asserts that the opposite is true, because SPP has created multi-owner Zones when
         necessary and SPP’s footprint has continued to grow with new Transmission Owners and
         new customers.251 SPP explains that its goal has always been to treat all similarly
         situated entities comparably, which it has done in this case with respect to GridLiance,



                244
                      Id. at 11.
                245
                      Id. (citing Initial Decision, 177 FERC ¶ 63,021 at P 81).
                246
                      City Utilities Brief Opposing Exceptions at 6.
                247
                      SPP Brief Opposing Exceptions at 11.
                248
                      Id.
                249
                      Id. at 12.
                250
                      Id. (quoting ITOs Brief on Exceptions at 15).
                251
                   Id. at 12 (citing Sw. Power Pool, Inc., 106 FERC ¶ 61,110, at P 115, order on
         reh’g, 109 FERC ¶ 61,010 (2004); E. Tex. Elec. Coop., Inc., 118 FERC ¶ 61,153, at P 4
         (2007)).
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         the Nixa Assets, and the City of Nixa load.252 SPP states that it is required by the
         Commission to incorporate new Transmission Owners and customers on a
         non-discriminatory basis and, by comparing this case to past zonal placement precedents,
         the Initial Decision also ensures that SPP continues to provide comparable,
         non-discriminatory treatment to all Transmission Owners and customers.253

                SPP asserts that, contrary to ITOs’ claims that the Initial Decision creates an
         opportunity for “sleight of hand” by adopting a cost shift “test,” this case does not create
         any opportunity to game the Zonal Placement Process.254 SPP states that it appropriately
         placed the Nixa Assets in Zone 10 only after following proper application of its Zonal
         Placement Process and holistic consideration of all relevant factors, including whether to
         place the Nixa Assets in a new zone.255 SPP notes that it and GridLiance introduced a
         substantial amount of evidence in this proceeding to enable the Presiding Judge and the
         Commission to make a determination that the placement of the Nixa Assets in Zone 10 is
         just and reasonable, and the Presiding Judge found ample evidence in this case to
         conclude that the benefits of including the Nixa Assets in Zone 10 outweigh any claims
         of cost shift.256 Similarly, City Utilities argues that the evidence presented by SPP more
         than justifies the placement of the Nixa Assets in Zone 10 as well as the resulting costs
         shared among all Zone 10 facilities.257 GridLiance notes that ITOs made no attempt to
         calculate benefits or costs.258

                SPP states that the fact that the City of Nixa originally built the Nixa Assets to
         serve the City of Nixa load is of limited relevance to the assessment of whether including
         the Nixa Assets in Zone 10 results in just and reasonable rates to Zone 10 customers.259
         SPP notes that this same argument can be made for other legacy transmission facilities in

                252
                      Id. at 13.
                253
                      Id.
                254
                      Id. at 14.
                255
                   Id. (citing Initial Decision, 177 FERC ¶ 63,021 at P 123; Ex. SPP-001
         at 10:1-11).
                256
                      Id.
                257
                      City Utilities Brief Opposing Exceptions at 7.
                258
                      GridLiance Brief Opposing Exceptions at 60-61.
                259
               SPP Brief Opposing Exceptions at 47 (citing ITOs Brief on Exceptions at 90;
         ARKMO Brief on Exceptions at 25-26, 59).
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         Zone 10 and other facilities whose costs are recovered in Schedule 9 zonal rates, but
         asserts that, in particular, ITOs do not argue about the costs of their legacy facilities being
         recovered from all zonal customers through Schedule 9 zonal rates without any showing
         of specific benefits.260 SPP states that the City of Nixa pays its share of the costs of all
         Zone 10 transmission facilities, even though not all of those facilities have been shown to
         provide “unique” or “specific” benefits (reliability, economic, or otherwise) to the City of
         Nixa.261 SPP claims that, therefore, requiring SPP or GridLiance to show that all Zone 10
         customers benefit from the Nixa Assets in a proportion equal to their load ratio shares
         would result in disparate treatment for both the Nixa Assets and the City of Nixa as
         compared to the rest of Zone 10.262

                According to SPP, the roughly commensurate standard requires that the
         Commission have an articulable and plausible reason to believe that the costs a customer
         pays are roughly commensurate with the benefits that customer receives.263 Therefore,
         the origin story of a specific transmission facility or set of facilities is a relevant
         consideration but is not dispositive of whether it confers benefits on the customers paying
         for that facility, and so it is not determinative in evaluating whether the placement of the
         Nixa Assets in Zone 10 is just and reasonable.264

                 GridLiance and SPP support the Presiding Judge’s reliance on Tri-State as the
         most closely comparable precedent, finding that the benefits derived from placement of
         the Nixa Assets in Zone 10 are roughly commensurate with the cost shift for all Zone 10
         customers.265 SPP further supports the Presiding Judge’s dismissal of ITOs’ arguments
         regarding a proportionality requirement to the roughly commensurate standard, i.e., that
         each customer that pays a rate must receive the same quantified benefits from a set of
         facilities as other customers paying that same rate receive, and if a customer receives




                260
                      Id.
                261
                      Id. at 49 (citing Ex. ARK-0076 at 133:10-20).
                262
                      Id. at 50.
                263
                      Id. (citing Initial Decision, 177 FERC ¶ 63,021 at P 53; ICC I, 576 F.3d
         at 477).
                264
                      Id.
                265
                   GridLiance Brief Opposing Exceptions at 59; SPP Brief Opposing Exceptions
         at 50-51 (citing Initial Decision, 177 FERC ¶ 63,021 at PP 156, 161).
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         more benefits, it must pay a precise portion more of the costs of those facilities.266 SPP
         notes that, if this were true, ARKMO should pay more for the Zone 10 facilities to which
         each interconnects, which the Commission has not required and is contrary to the concept
         of zonal transmission rates in RTOs.267 SPP explains that ITOs’ zonal rates would
         unravel if ITOs’ and ARKMO’s arguments regarding the roughly commensurate standard
         were true.268

                 GridLiance asserts that the Initial Decision correctly rejected the argument from
         ITOs and ARKMO that the benefit-to-cost ratio under the roughly commensurate
         standard must be proportionate for all customers.269 GridLiance argues that ODEC,
         ICC I, and ICC II are regional cost allocation cases, none of which require the use of cost
         shift percentages or address the specific zonal placement considerations that arose in
         Tri-State.270 GridLiance argues that ODEC does not mandate that benefits and costs
         should be allocated solely on a percentage basis or in proportion to load ratio share.271
         GridLiance argues that ICC III does not support ITOs’ assertion that the benefit-to-cost
         ratio must be proportionate for all customers because the Seventh Circuit upheld the
         proposed cost allocation method despite allegations that some MISO members would
         contribute more than they benefit.272 GridLiance asserts that there are no cases requiring
         that specific dollar-for-dollar costs and benefits be assigned to specific customers.273

               GridLiance argues ITOs’ proportionate benefits test is silent on the identity of the
         89% of customers that ITOs contend require benefits, yet there is no single non-City of


                266
                   SPP Brief Opposing Exceptions at 51 (citing Initial Decision, 177 FERC
         ¶ 63,021 at PP 56, 206; ICC II, 756 F.3d at 556; Tr. at 1647:12-23, 1661:20-1662:3,
         1671:3-25; id. at 1640:20-1641:6, 1642:13-18).
                267
                      Id. (citing Ex. SPP-0031 at 28:8-29:8).
                268
                    Id. at 52 (citing ITOs Brief on Exceptions at 19-29; Trial Staff Supplemental
         Initial Brief at 20 & n.82).
                269
                      GridLiance Brief Opposing Exceptions at 15.
                270
                  Id. at 16 (citing ODEC, 898 F.3d at 1254; ICC I, 576 F.3d at 470; ICC II,
         756 F.3d at 556).
                271
                      Id. at 17.
                272
                      Id. at 18 (citing ICC III, 721 F.3d at 764).
                273
                      Id.
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         Nixa customer that pays 89% of the cost of the Nixa Assets.274 GridLiance argues that
         adding up the load ratio share of ITOs and ARKMO comes to far less than 89%, and even
         if ITOs’ proportionate benefits theory applied, ITOs are vastly overstating the benefits
         that would need to be demonstrated.275 GridLiance argues that under ITOs’ proportionate
         benefits theory, new entities joining SPP would only be afforded zonal cost allocation if
         the new assets provide more benefits to others than they do to the newly joining entities,
         but no other transmission owner in SPP, or any RTO, must meet this standard.276
         GridLiance concludes that ITOs’ theory creates a “perverse incentive” for a transmission
         owner to minimize an asset’s benefits to itself so that the owner can avoid the appearance
         of lack of proportionality.277

                 GridLiance argues that the Initial Decision correctly applied the roughly
         commensurate standard because it followed Commission precedent, which requires a
         case-by-case analysis that does not need to quantify the exact benefits to customers in a
         zone.278 SPP emphasizes that the roughly commensurate standard requires that the
         Commission have an articulable and plausible reason to believe that the costs a customer
         pays are roughly commensurate with the benefits that customer receives; the roughly
         commensurate standard does not require a comparison of the benefits one customer
         receives with respect to the benefits another customer paying the same rate receives.279
         SPP argues that the Seventh Circuit has clarified that “[w]e do not suggest that the
         Commission has to calculate benefits to the last penny, or for that matter to the last
         million or ten million or perhaps hundred million dollars.”280 SPP states that the
         Seventh Circuit relied on previous cases, which explain that “we have never required a
         ratemaking agency to allocate costs with exacting precision,”281 and that the Commission
         “is not bound to reject any rate mechanism that tracks the cost-causation principle less


                274
                      Id. at 20-21.
                275
                      Id. at 21.
                276
                      Id. at 22.
                277
                      Id. at 22-23.
                278
                      Id. at 13.
                279
                      SPP Brief Opposing Exceptions at 53.
                280
                      Id. (quoting ICC I, 576 F.3d at 477).
                281
                      Id. at 54 (quoting Midwest ISO Transmission Owners v. FERC, 373 F.3d
         at 1369).
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         than perfectly.”282 SPP concludes that ITOs’ assertions—that a customer paying twice as
         much costs must receive twice as much benefit—is thus unsupported.283 SPP also
         disagrees with ITOs’ reliance on precedent in ODEC v. FERC,284 stating that the Initial
         Decision instead rightly dismissed such precedent as distinguishable from this case
         because the zonal nature of the benefits at issue in this proceeding is inapposite to the
         regional benefits at issue in ODEC.285 SPP notes that ITOs make no effort to explain
         why this distinction should be ignored.286

                Furthermore, SPP states that the Presiding Judge correctly concluded that
         challenges to SPP’s implementation of the Zonal Placement Process are immaterial.287 In
         particular, SPP avers that the Commission has stated that the fact that the Zonal
         Placement Process is not filed is irrelevant and that the criteria as part of the zonal
         placement analysis are based on appropriate considerations.288 SPP counters that, as
         demonstrated by the evidence in the record, it did follow the Zonal Placement Process in
         this proceeding, which included consideration of, inter alia, the history of integration in
         Zone 10, the power flows on the Zone 10 side of the Nixa Assets, and the requirements of
         Attachment AD of the SPP Tariff.289 City Utilities agrees that placing the costs of the
         Nixa Assets in Zone 10 is consistent with Attachment AD of the SPP Tariff.290



                282
                      Id.
                283
                      Id. (citing ITOs Brief on Exceptions at 27-29; ARKMO Brief on Exceptions
         at 66-68).
                284
                      Id. at 56 (citing ODEC, 898 F.3d at 1254).
                285
                      Id. at 56-57 (citing Initial Decision, 177 FERC ¶ 63,021 at P 167 n.327).
                286
                      Id. at 57.
                287
                      Id. (citing Initial Decision, 177 FERC ¶ 63,021 at PP 191-195).
                288
                      Id. at 57-58.
                289
                   Id. at 58-60 (citing Ex. SPP-001 at 13:14-17, 13:17-20; Tr. at 91:17-92:5; OXY
         USA, Inc. v. FERC, 64 F.3d 679, 692 (D.C. Cir. 1995); Cities of Bethany v. FERC,
         727 F.2d 1131, 1136 (D.C. Cir. 1984); Entergy Servs., Inc., 116 FERC ¶ 61,275, at P 32
         (2006), order on clarification, 119 FERC ¶ 61,013, order on reh’g, 119 FERC ¶ 61,187
         (2007), order on reh’g & clarification, 122 FERC ¶ 61,216 (2008)).
                290
                      City Utilities Brief Opposing Exceptions at 1.
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                GridLiance argues that the Commission previously determined in Tri-State that
         ICC I and Order No. 494 do not support the argument that cost shifts that are “too high”
         are unjust and unreasonable.291 GridLiance explains that the Eighth Circuit upheld the
         Commission’s determination, distinguishing the Tri-State zonal placement case from the
         RTO-wide rate change case that was proposed in ICC I.292 GridLiance quotes the
         Eighth Circuit stating that what is required is “an articulable and plausible reason to
         believe that the benefits are at least roughly commensurate with the costs.”293

                 GridLiance argues that SPP’s placement of the Nixa Assets in Zone 10 is
         consistent with the Commission’s comparability, cost causation, and roughly
         commensurate principles.294 GridLiance argues that the Commission recognizes that it
         has accepted SPP Tariff provisions in the past even though they could result in cost
         shifts.295 GridLiance concludes that comparability requires that the Nixa Assets be
         accorded rolled-in rate treatment, which is the same rate treatment as facilities currently
         in Zone 10 rates.296

                            4.     Commission Determination

                 We affirm the Presiding Judge’s finding that the benefits from the Nixa Assets
         justify the costs of their inclusion into Zone 10. As noted above, the Commission has
         found that if an existing transmission owner and its customers in a zone benefit from a
         new transmission owner’s facilities, then it may be just and reasonable for some cost
         responsibility for the new transmission owner’s facilities to shift to the existing
         transmission owner and its customers.297 By contrast, “cost shifts that result in
         significant rate increases to customers, but which are unaccompanied by commensurate
         benefits, are unjust and unreasonable.”298 Ultimately, the Commission must determine
         whether the benefits of the Nixa Assets to the customers of Zone 10 are roughly

                291
                      GridLiance Brief Opposing Exceptions at 14.
                292
                      Id. at 14-15.
                293
                      Id. at 62 (quoting NPPD v. FERC, 957 F.3d at 941).
                294
                      Id. at 80.
                295
                      Id.
                296
                      Id. at 82.
                297
                      ITOs Complaint Order, 162 FERC ¶ 61,213 at P 63.
                298
                      Tri-State, 163 FERC ¶ 61,109 at P 191.
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         commensurate with the costs of the Nixa Assets in order to justify their inclusion within
         the zone.

                 The Initial Decision relies upon the Commission’s decision in Tri-State to support
         its finding that the benefits here justify the costs. While we agree that the Commission’s
         decision in Tri-State provides useful precedent for proceedings involving zonal
         placement in SPP, we agree with ARKMO and ITOs that the Initial Decision ignores
         important distinctions between the two proceedings. Most notably, the transmission
         facilities in Tri-State were constructed pursuant to a joint agreement between Tri-State
         and NPPD, under which Tri-State and NPPD transmission facilities were developed and
         operated as an integrated whole for the parties’ joint use and mutual benefit.299 The
         Commission in Tri-State found, in part, that NPPD benefitted from the Tri-State
         transmission facilities because NPPD used them to serve its load and that otherwise
         NPPD would have had to construct its own facilities to serve its load.300 Such
         coordination does not exist here.

                 However, as the Commission said in the ITOs Complaint Order, we evaluate cost
         shifts on a case-by-case basis, and the distinctions between this proceeding and the facts
         in Tri-State do not mean that the zonal placement proposed by SPP is not just and
         reasonable here. We find that, based upon the evidence presented as a whole, the benefits
         to Zone 10 customers from the Nixa Assets are roughly commensurate with their costs
         and that SPP’s filing is thus just and reasonable. We base this determination on the
         reliability and power transfer benefits to the customers in Zone 10 and the City of Nixa in
         particular, but mostly on the extensive integration benefits from the Nixa Assets to
         Zone 10 customers as developed at hearing.301 The Commission has long recognized the
         value of integrated transmission to network transmission customers. The Commission
         has a long-standing policy of rolling in the costs of networked transmission facilities into
         rates – including the types of zonal rates at issue here – because “the transmission
         network is a single interconnected system serving and benefiting all transmission
         customers and it is this interconnected nature that makes for a reliable system
         consistently providing for the delivery of electric energy to all customers.”302




                299
                      Id. P 192.
                300
                      Id. P 194.
                301
                      Initial Decision, 177 FERC ¶ 63,021 at PP 123-124.
                302
                    City of Anaheim, 113 FERC ¶ 61,091, at P 34 (2005). See also Ne. Tex. Elec.
         Coop., Inc., Opinion No. 474, 108 FERC ¶ 61,084, at P 47 (2004) (“Due to the integrated
         nature of the transmission network, network facilities benefit all network users. It does
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                We find that these extensive integration benefits are roughly commensurate with
         the costs of the Nixa Assets to Zone 10 members. Consistent with the cost causation
         principle, we find that it is just and reasonable to allocate the costs of the Nixa Assets to
         transmission customers in Zone 10, who benefit from the integration of the Nixa Assets.

                 ARKMO and ITOs argue that the Commission should read “roughly
         commensurate” to mean “roughly proportionate” such that any costs of a facility should
         be distributed proportionate to its usage. Such a reading is contrary to Commission
         precedent and inconsistent with how costs are allocated within SPP. As the Initial
         Decision correctly noted, the Commission has not required the precise quantification of
         the distribution of benefits to other customers in other zonal placement cases.303 We do
         not view the Seventh Circuit decisions in ICC I and ICC II or the D.C. Circuit’s decision
         in ODEC as requiring any such proportionality finding.304 However, as the Initial
         Decision points out, even if one were to read them as such, those decisions do not
         necessarily apply to zonal placement decisions such as this one.305 Indeed, it is
         impossible to square a proportionality requirement as argued for by ARKMO and the
         ITOs with the zonal rates as approved by the Commission in SPP. As SPP points out in
         its brief, such a requirement would require a demonstration that any facility provides all
         other customers in a zone with benefits proportionate to their load-ratio share before its
         costs could be included in zonal rates, a nearly impossible task and contrary to the
         purpose of zonal rates in the first place.306




         not matter whether the facilities were installed to meet a particular customer’s request for
         service.”).
                303
                      Initial Decision, 177 FERC ¶ 63,021 at P 166.
                304
                   See Midwest Indep. Trans. Sys. Operator, Inc., 137 FERC ¶ 61,074, at P 121
         (2011) (finding that the Seventh Circuit in ICC I did not require a utility-by-utility cost
         benefit analysis), aff’d in part, ICC III, 721 F.3d at 774.
                305
                 See Initial Decision, 177 FERC ¶ 63,021 at P 167 (citing Remand Order,
         174 FERC ¶ 61,116 at P 39; ITOs Complaint Order, 162 FERC ¶ 61,213 at P 70); see
         also NPPD v. FERC, 957 F.3d at 941 (distinguishing zonal placement case from the
         RTO-wide rate change in ICC I and ICC II).
                306
                      SPP Brief Opposing Exceptions at 52.
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                D.          Other Issues

                            1.     Initial Decision

                The Presiding Judge stated that alternative proposals from ITOs and ARKMO to
         mitigate the rate impact of the placement of the Nixa Assets in Zone 10 are
         unsupported.307 The Presiding Judge stated that ITOs proposed to mitigate the cost shift
         by including both the City of Nixa’s load and the Nixa Assets in Zone 10 for operational
         and planning purposes, but to assign all of the costs of the Nixa Assets directly to the City
         of Nixa’s load through a subzonal charge.308 However, the Presiding Judge expressed
         uncertainty as to whether ITOs presented the proposal as a formal alternative.309 The
         Presiding Judge also noted that while ARKMO initially proposed to allocate the costs of
         the Nixa Assets to both Zones 3 and 10, ARKMO later softened its support of the
         proposal before abandoning it in favor of ITOs’ subzonal rate proposal.310

                 Despite remaining unclear about whether ITOs and ARKMO planned to advance
         the alternative proposals for adoption by the Commission, the Presiding Judge rejected
         them in the interest of clarity.311 The Presiding Judge stated that there was no need to
         consider whether alternative placements or mitigation proposals were more appropriate
         because the Presiding Judge previously determined that the proposed zonal placement
         satisfies cost causation principles as articulated by the Commission and the Courts of
         Appeals.312 The Presiding Judge noted that Trial Staff and City Utilities pointed out that
         the Commission has limited authority under section 205 of the FPA to impose an entirely
         new rate scheme in place of the proposal in the SPP Filing.313

               The Presiding Judge found that ARKMO and ITOs could pursue their alternative
         proposals under section 206 of the FPA, but the Presiding Judge asserted that their




                307
                      Initial Decision, 177 FERC ¶ 63,021 at P 181.
                308
                      Id. P 182.
                309
                      Id.
                310
                      Id. P 183.
                311
                      Id. P 186.
                312
                      Id.
                313
                      Id.
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         advocacy in this proceeding did not meet the required burden of proof.314 The Presiding
         Judge stated that neither ITOs nor ARKMO demonstrated that the SPP Filing is unjust
         and unreasonable, and there is a substantial question in the record about whether the
         alternative placement and mitigation proposals are themselves just and reasonable.315

                            2.     Briefs on Exceptions

                 ARKMO and ITOs argue that the Initial Decision erred and shifted the burden of
         proof by requiring them to meet an FPA section 206 burden to demonstrate an alternative
         replacement rate that is just and reasonable.316 ITOs argue that, under FPA section 205,
         the filing party (i.e., SPP) bears the burden of proof to show that its proposal is just and
         reasonable, and that the Initial Decision impermissibly shifts the burden to them at
         several points to deny the existence of benefits.317 ARKMO and ITOs argue that SPP’s
         proposed cost allocation should be rejected; SPP can choose among any alternatives that
         meet the cost causation principle and propose, under FPA section 205, a new cost
         allocation at least roughly in line with benefits.318

                ITOs state that the subzonal rate proposal was offered to demonstrate that
         mitigation is possible, in contrast to the claims of SPP. ITOs argue that the subzonal rate
         mitigation proposal is not “patently unduly discriminatory” as the proposal is just and
         reasonable and consistent with principles of cost causation. ITOs argue that
         comparability does not require the same rates for customers that are not similarly
         situated, and that other facilities in Zone 10 such as the Southwestern facilities provide
         broader benefits to the Zone than the Nixa Assets.319




                314
                      Id. P 187.
                315
                      Id.
                316
                      ARKMO Brief on Exceptions at 91; ITOs Brief on Exceptions at 83-84.
                317
                      ITOs Brief on Exceptions at 83-84.
                318
                      ARKMO Brief on Exceptions at 92; ITOs Brief on Exceptions at 85.
                319
                      ITOs Brief on Exceptions at 87-88.
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                            3.   Briefs Opposing Exceptions

                SPP states that the Presiding Judge correctly dismissed ITOs’ mitigation
         proposals.320 SPP asserts that, because the initial filing was submitted pursuant to FPA
         section 205, the sole issue in this proceeding is whether SPP’s proposal to include the
         Nixa Assets and ATRR in Zone 10 is just and reasonable; the issue at hand is not whether
         some other proposal may or may not be just and reasonable or preferable.321 SPP and
         GridLiance argue that ARKMO’s and ITOs’ alternative proposals cannot be imposed or
         adopted in this case.322

                GridLiance argues that rate mitigation is not necessary because the rate impacts
         are small in dollar terms, rate impacts are declining, there is no rate shock, and rates in
         Zone 10 with the Nixa Assets included are lower than the rates in half of all SPP rate
         zones.323 GridLiance argues that no party has shown that rate mitigation or other
         remedies are required, especially after SPP and GridLiance met their burden to
         demonstrate that the decision to place the Nixa Assets in Zone 10 is just and
         reasonable.324 SPP argues that the “mitigation” alternatives proposed by ITOs and
         ARKMO fail on their merits, and the Presiding Judge was right to reject these
         alternatives, and the Commission should reject them as well.325

                 SPP states that the Presiding Judge correctly labeled ITOs’ proposal for a subzonal
         rate for the City of Nixa as “patently unduly discriminatory,” arguing that this subzonal
         rate would result in a rate calculation for the City of Nixa that differs from how SPP
         calculates rates for every other SPP Transmission Customer and that uses a calculation
         methodology that does not exist under the SPP Tariff.326 Moreover, SPP states that this
         proposal appears to impose a “pancaked rate,” which the Commission wanted to avoid
         because it would require SPP to treat the Nixa Assets and other Zone 10 facilities as
         separate transmission systems based on historical ownership and to charge the City of

                320
                   SPP Brief Opposing Exceptions at 60 (citing Initial Decision, 177 FERC
         ¶ 63,021 at P 186).
                321
                      Id. at 60-61.
                322
                      Id. at 61; GridLiance Brief Opposing Exceptions at 77.
                323
                      GridLiance Brief Opposing Exceptions at 77.
                324
                      Id.
                325
                      SPP Brief Opposing Exceptions at 62 (citing ITOs Brief on Exceptions at 84).
                326
                      Id. (citing Initial Decision, 177 FERC ¶ 63,021 at P 187 n.362).
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         Nixa separately calculated charges for service across those two systems, which violates
         Commission policy.327

                 GridLiance argues that the creation of a subzone, even for a limited time period,
         would be unduly discriminatory to the City of Nixa and also require changes to the SPP
         Tariff, which would require a section 206 proceeding.328 SPP contends that no other
         Zone 10 customer has been segregated from the other customers for purposes of tracking
         its legacy costs and ITOs are advocating that the City of Nixa should be treated
         differently under the SPP Tariff from any other SPP network service customer.329 SPP
         asserts that such proposal is not supported by precedent.330 SPP further explains that
         Zone 10 rates cannot be so neatly divided into the City of Nixa’s “legacy costs” and
         “non-City of Nixa” customers’ “legacy costs” because each Zone 10 customer is distinct,
         but not distinctly tied to a facility or common set of “legacy costs.”331

               Additionally, SPP rejects ARKMO’s proposal to split the Nixa Assets between
         Zone 3 and Zone 10 because the entirety of the City of Nixa load is included in
         Zone 10.332 SPP notes that, though there may be other proposals where placement of a
         Transmission Owner’s systems is disbursed among multiple SPP Zones, each zonal
         placement case involves a case-by-base evaluation and thus a split of assets across

               327
                   Id. at 63-64 (citing Reg’l Transmission Orgs., Order No. 2000, FERC Stats. &
         Regs., ¶ 31,089, at 31,174-75 (1999) (cross-reference at 89 FERC ¶ 61,285), order on
         reh’g, Order No. 2000-A, FERC Stats. & Regs., ¶ 31,092 (2000) (cross-referenced at
         90 FERC ¶ 61,201), petitions for review dismissed sub nom. Pub. Util. Dist. No. 1 v.
         FERC, 272 F.3d 607 (D.C. Cir. 2001)).
               328
                     GridLiance Brief Opposing Exceptions at 78.
               329
                  SPP Brief Opposing Exceptions at 63-64 (citing Tr. at 1521:25-1522:1,
         1393:21-23).
               330
                   Id. at 65 (citing ICC I, 576 F.3d at 477 (“We do not suggest that the
         Commission has to calculate benefits to the last penny, or for that matter to the last
         million or 10 million or perhaps 100 million dollars.”); Midwest ISO Transmission
         Owners v. FERC, 373 F.3d at 1369 (“[W]e have never required a ratemaking agency to
         allocate costs with exacting precision.”); Sithe/Indep. Power Partners, L.P. v. FERC,
         285 F.3d at 5 (“FERC is not bound to reject any rate mechanism that tracks the
         cost-causation principle less than perfectly.”)).
               331
                     Id. at 66.
               332
                   Id. at 66-67 (citing Ex. SPP-006 at 37:24-39:18; Ex. SPP-0031 at 37:7-38:13;
         Tr. at 643:3-18).
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         multiple zones in another case with substantially different facts does not guide the
         outcome here.333 SPP states that this proposal to split the Nixa Assets lacks merits and
         the Presiding Judge rightfully disregarded it.334

                 City Utilities argues that assigning any cost responsibility for facilities serving
         Zone 10 City of Nixa load to City Utilities customers in Zone 3 is inappropriate and that
         alternative zonal placements at this stage are beyond the Commission’s authority under
         section 205 because such placements would result in an “entirely different rate design”
         than that originally proposed by SPP in its filing.335 Additionally, City Utilities contends
         that ARKMO’s argument to shift at least a portion of the costs of the Nixa Assets to City
         Utilities customers in Zone 3 is not only inconsistently applied, but is thoroughly refuted
         by the analysis in the Initial Decision that found SPP’s filing satisfied the relevant cost
         causation principles.336

                            4.     Commission Determination

                 We affirm the Presiding Judge’s dismissal of the alternative rate proposals made
         by intervenors. Pursuant to FPA section 205, SPP bears the burden of proof with respect
         to its proposal. Although ARKMO and the ITOs argue that the Presiding Judge
         improperly shifted the burden to them, in fact the Initial Decision found that SPP had met
         its burden under section 205 to show that its proposal was just and reasonable. Because
         we affirm the Presiding Judge’s finding that SPP’s proposal is just and reasonable, we
         need not consider whether the proposal is more or less reasonable than other
         alternatives.337


                333
                      Id. at 67.
                334
                      Id.
                335
                   City Utilities Brief Opposing Exceptions at 8 (citing NRG Pwr. Mktg. v. FERC,
         862 F.3d 108, 114-116 (D.C. Cir. 2017); W. Res. v. FERC, 9 F.3d 1568, 1578
         (D.C. Cir. 1993)).
                336
                      Id. at 9.
                337
                   See PJM Interconnection, L.L.C., 169 FERC ¶ 61,038, at P 12 (2019) (citing
         OXY USA, Inc. v. FERC, 64 F.3d at 679, 692 (finding that under the FPA, as long as the
         Commission finds a methodology to be just and reasonable, that methodology “need not
         be the only reasonable methodology, or even the most accurate one”); Cities of Bethany
         v. FERC, 727 F.2d at 1131, 1136 (when determining whether a rate was just and
         reasonable, the Commission properly did not consider “whether a proposed rate schedule
         is more or less reasonable than alternative rate designs”)).
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         The Commission orders:

               The Initial Decision is hereby affirmed, as discussed in the body of this order.

         By the Commission.

         (SEAL)



                                                      Debbie-Anne A. Reese,
                                                        Deputy Secretary.
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                      Exhibit 2
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                                      183 FERC ¶ 62,048
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Southwest Power Pool, Inc.                                    Docket No. ER18-99-007

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                                (May 1, 2023)

                Rehearing has been timely requested of the Commission’s order issued on
         February 28, 2023, in this proceeding. Southwest Power Pool, Inc., 182 FERC ¶ 61,141
         (2023). In the absence of Commission action on a request for rehearing within 30 days
         from the date it is filed, the request for rehearing may be deemed to have been denied.
         16 U.S.C. § 825l(a); 18 C.F.R. § 385.713 (2022); Allegheny Def. Project v. FERC,
         964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 16 U.S.C. § 825l(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 16 U.S.C. § 825l(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.



                                                        Kimberly D. Bose,
                                                           Secretary.
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                      Exhibit 3
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                                       184 FERC ¶ 61,004
                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

         Southwest Power Pool, Inc.                                  Docket No. ER18-99-007


                    ORDER ADDRESSING ARGUMENTS RAISED ON REHEARING

                                            (Issued July 5, 2023)

         1.      On February 28, 2023, the Commission issued an order1 addressing exceptions to
         an Initial Decision issued on December 6, 2021.2 The Initial Decision concerned disputes
         arising from Southwest Power Pool, Inc.’s (SPP) proposal to revise its Open Access
         Transmission Tariff (Tariff) to include the annual transmission revenue requirement
         (ATRR) of transmission facilities associated with the City of Nixa, Missouri (City of
         Nixa), owned by GridLiance High Plains LLC (GridLiance),3 in one of SPP’s existing
         transmission pricing zones, SPP Pricing Zone 10 (Zone 10), for purposes of rate recovery
         (Nixa Assets). In the Initial Decision, the Presiding Judge concluded that SPP’s proposal
         to incorporate the Nixa Assets in Zone 10 is consistent with cost causation principles and
         is otherwise just and reasonable. In the Order on Initial Decision, the Commission
         affirmed the Initial Decision. On March 29, 2023, a joint request for rehearing was filed
         by the ARKMO Cities (ARKMO)4 and a group of SPP transmission owners (ITO).5



               1
                   Sw. Power Pool, Inc., 182 FERC ¶ 61,141 (2023) (Order on Initial Decision).
               2
                   Sw. Power Pool, Inc., 177 FERC ¶ 63,021 (2021) (Initial Decision).
               3
                   GridLiance was formerly known as South Central MCN LLC.
               4
                 ARKMO consists of the following customers within Zone 10: Paragould Light
         Water & Cable; Paragould Light Commission; Poplar Bluff Municipal Utilities; Kennett
         Board of Public Works; City of Piggott Municipal Light, Water & Sewer; and the City of
         Malden.
               5
                 ITOs filing the request for rehearing consist of the following transmission
         owners: Evergy Kansas Central, Inc., Evergy Metro, Inc., and Evergy Missouri West,
         Inc.; American Electric Power Service Corporation, on behalf of its affiliates Public
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         2.     Pursuant to Allegheny Defense Project v. FERC,6 the rehearing request filed in this
         proceeding may be deemed denied by operation of law. However, as permitted by
         section 313(a) of the Federal Power Act (FPA),7 we are modifying the discussion in the
         Order on Initial Decision and continue to reach the same result in this proceeding, as
         discussed below.8

         I.     Background

         3.     SPP uses a zonal rate design, pursuant to which its footprint is separated into a
         number of transmission pricing zones for purposes of establishing transmission service
         rates. The Tariff specifies a zonal ATRR for each pricing zone that is based on the sum
         of the ATRRs for each transmission owner in the zone. Generally, the charges for
         Network Integration Transmission Service (network service) in a pricing zone are
         calculated by multiplying a customer’s percentage share of total load in the zone (i.e., its
         load ratio share) by the zonal ATRR.9 When a new transmission owner is added to an
         existing pricing zone, the ATRR for its transmission facilities in the zone and any
         associated load not already included in the zonal load are added to the existing zone’s




         Service Company of Oklahoma and Southwestern Electric Power Company; Xcel Energy
         Services Inc., on behalf of its affiliate Southwestern Public Service Company; and
         Western Farmers Electric Cooperative.
                6
                    964 F.3d 1 (D.C. Cir. 2020) (en banc).
                7
                  16 U.S.C. § 825l(a) (“Until the record in a proceeding shall have been filed in a
         court of appeals, as provided in subsection (b), the Commission may at any time, upon
         reasonable notice and in such manner as it shall deem proper, modify or set aside, in
         whole or in part, any finding or order made or issued by it under the provisions of this
         chapter.”).
                8
                  Allegheny Def. Project, 964 F.3d at 16-17. The Commission is not changing the
         outcome of the Order on Initial Decision. See Smith Lake Improvement & Stakeholders
         Ass’n v. FERC, 809 F.3d 55, 56-57 (D.C. Cir. 2015).
                9
                 See SPP, Tariff, pt. III (Network Integration Transmission Service), § 34.1
         (Monthly Demand Charge) (3.0.0); see also id., Schedule 9 (Network Integration
         Transmission Service) (9.0.0). Schedule 9 under SPP’s Tariff describes that the
         transmission customer taking network service shall pay a monthly demand charge for the
         SPP Pricing Zone where the load is located.
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         zonal ATRR and total load. Rates for point-to-point transmission service are also based
         on the zonal ATRR and load, and are set forth in Attachment T of the Tariff.10

         4.      In 2017, SPP instituted a new Transmission Owner Zonal Placement Process
         (Zonal Placement Process) to review and determine zonal placement for existing
         transmission facilities that new SPP transmission-owning members propose to include
         under the SPP Tariff. A group of SPP transmission owners challenged the SPP Zonal
         Placement Process, arguing that allocating the costs of a new SPP member’s transmission
         facilities to existing customers of a zone results in an unjust and unreasonable cost shift
         between new and existing transmission customers.11 Although the Commission denied
         the complaint,12 the Commission also stated that parties may challenge the placement of a
         new transmission owner’s facilities in a transmission pricing zone. 13

         5.     The Nixa Assets consist of approximately 10 miles of transmission lines and
         related facilities interconnected to Southwestern Power Administration (Southwestern) in
         Zone 10 and to City Utilities of Springfield, Missouri (City Utilities) in SPP Pricing
         Zone 3 (Zone 3).14 On October 18, 2017, SPP submitted proposed Tariff revisions to add
         an ATRR and a formula rate template and implementation protocols for the Nixa Assets.
         SPP explained that it had used its Zonal Placement Process to place the facilities in Zone
         10. Several parties protested SPP’s filing, raising concerns about the rate impact on




                10
                 See Order on Initial Decision, 182 FERC ¶ 61,141 at P 3 n.4 (summarizing
         Schedules 8, 9, 10 regarding point-to-point service).
                11
                 Indicated SPP Transmission Owners v. Sw. Power Pool, Inc.,
         162 FERC ¶ 61,213 (ITOs Complaint Order), reh’g denied, 165 FERC ¶ 61,005 (2018)
         (ITOs Complaint Rehearing Order).
                12
                 Order on Initial Decision, 182 FERC ¶ 61,141 at P 4 (summarizing the basis for
         the Commission’s denial of the complaint in the ITOs Complaint Order and ITOs
         Complaint Rehearing Order).
                13
                     ITOs Complaint Order, 162 FERC ¶ 61,213 at P 74.
                14
                  GridLiance acquired the Nixa Assets from the City of Nixa on April 1, 2018.
         Missouri Joint Municipal Electric Utility Commission then acquired the Nixa Assets
         from GridLiance on May 19, 2022. See Sw. Power Pool, 179 FERC ¶ 61,134, at P 1, 4
         (2022).
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         customers in Zone 10. On March 15, 2018, the Commission set the Tariff revisions for
         hearing and settlement judge procedures.15

         6.      On August 30, 2019, SPP submitted an offer of settlement in the hearing docket on
         behalf of GridLiance and ARKMO. The Commission issued an order on February 18,
         2021 rejecting the contested settlement and remanding the proceeding to the Chief
         Administrative Law Judge to resume hearing procedures.16 The Commission found that
         there was insufficient evidence in the record to determine whether and the extent to
         which there are cost shifts involved in the placement of the Nixa Assets in Zone 10 or
         benefits that may accrue that would justify any such cost shifts.17 The Commission noted
         in particular that “this issue [regarding the benefits that may accrue to justify any cost
         shift] was not thoroughly briefed because many of the parties argued that the cost shift
         issue was outside the scope of the proceeding.”18

         7.      On December 6, 2021, the Presiding Judge issued the Initial Decision, which
         addressed three general issues: (1) whether, and to what extent, the placement of the
         Nixa Assets in Zone 10 involves a cost shift; (2) whether benefits accrue to Zone 10
         customers as a result of placing the Nixa Assets in Zone 10; and (3) whether the benefits
         justify the cost shift. The Presiding Judge determined that SPP’s proposal to incorporate
         the Nixa Assets in Zone 10 is consistent with cost causation principles and is otherwise
         just and reasonable.19 Specifically, the Presiding Judge found that: (1) the placement of
         the Nixa Assets in Zone 10 will result in a $1.8 million cost shift to Zone 10 customers;
         (2) the Nixa Assets accrue substantial, specific, but unquantifiable benefits (i.e.,
         integration benefits, reliability enhancements, and support for power transfers) to
         Zone 10 customers; and (3) those benefits justify the cost shift involved in the placement




                15
                   Sw. Power Pool, Inc., 162 FERC ¶ 61,215 (Hearing Order), order on reh’g and
         clarification, 164 FERC ¶ 61,120 (2018) (Rehearing Order).
                16
                  Sw. Power Pool, Inc., 174 FERC ¶ 61,116 (Remand Order), order on
         reh’g, 175 FERC ¶ 61,235 (2021) (Remand Rehearing Order).
                17
                     Remand Order, 174 FERC ¶ 61,116 at P 40.
                18
                  Id. P 41 (citing Sw. Power Pool, Inc., Opinion No. 562, 163 FERC ¶ 61,109,
         at P 157 (2018) (Tri-State), order on reh’g, Opinion No. 562-A, 166 FERC ¶ 61,019
         (2019) (Tri-State Rehearing)).
                19
                     Initial Decision, 177 FERC ¶ 63,021 at PP 2, 188, 206.
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         of the Nixa Assets in Zone 10.20 On January 5, 2022, ARKMO and ITOs, among others,
         filed briefs on exceptions to the Initial Decision.21

         8.      In the Order on Initial Decision, the Commission affirmed the findings that SPP’s
         proposal to include the ATRR for the Nixa Assets in Zone 10 is just and reasonable and
         consistent with the cost causation principle and, accordingly, accepted SPP’s proposed
         Tariff revisions.22 As to the amount of the cost shift, the Commission determined that the
         Presiding Judge properly balanced competing evidence to reach the finding that the cost
         shift at issue in this proceeding should be calculated as GridLiance’s proposed ATRR for
         the Nixa Assets, which is $1.8 million.23 In doing so, the Commission rejected
         arguments that the proper amount of the cost shift should be measured by the amount or
         percentage of the Gridliance ATRR for the Nixa Assets that will be paid by non-City of
         Nixa customers rather than the full amount of the GridLiance ATRR.24 The Commission
         explained that “the City of Nixa is already a Zone 10 customer and the Commission’s
         evaluation of the cost shift to Zone 10 customers can and should incorporate costs paid
         by the City of Nixa as well as other customers in that zone.”25

         9.     The Commission also affirmed the Presiding Judge’s finding that the Nixa Assets
         provide benefits that accrue to Zone 10 customers, concluding that the record supports
         the finding that the Nixa Assets provide integration, reliability, and power transfer
         benefits to Zone 10 customers.26 Responding to “the main argument raised on
         exceptions” that the benefits that the Nixa Assets provide allegedly accrue mostly, if not
         entirely, to the City of Nixa rather than other Zone 10 customers, the Commission found

                20
                     Id. PP 77, 122, 153.
                21
                   See Order on Initial Decision, 182 FERC ¶ 61,141 at P 9 (also noting the filing
         of briefs opposing exceptions).
                22
                     Id. P 11.
                23
                     Id. P 29.
                24
                     Id. P 30.
                25
                  Id. (noting that the City of Nixa’s transmission rates would increase upon
         inclusion of the Nixa Assets in Zone 10, like other transmission customers, and
         “[r]emoving the City of Nixa from the cost shift figure would thus give an incomplete
         view of the total cost shift amount”).
                26
                   Id. P 64; see also id. PP 67-70 (discussing the integration and reliability benefits
         in greater detail); id. PP 71-72 (affirming determinations that quantification of benefits
         and a showing of economic benefits are not necessary).
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         that the Presiding Judge properly evaluated the benefits of the Nixa Assets to all Zone 10
         customers—including the City of Nixa—rather than restricting his findings to non-City
         of Nixa customers.27 In doing so, the Commission explained that “under SPP’s zonal rate
         design, all customers in a pricing zone pay a rate based on the ATRRs associated with all
         transmission facilities in that zone, regardless of which facilities may have previously
         been used to provide service to a specific customer prior to the customer or the
         Transmission Owner joining the [Regional Transmission Organization (RTO)].”28

         10.     Under the case-by-case analysis applicable to evaluation of cost shifts, the
         Commission also affirmed the Presiding Judge’s finding that the benefits to Zone 10
         customers from the Nixa Assets are roughly commensurate with their costs, and therefore
         SPP’s proposal to include the Nixa Assets in Zone 10 was just and reasonable.29 The
         Commission “base[d] this determination on the reliability and power transfer benefits to
         the customers in Zone 10 and the City of Nixa in particular, but mostly on the extensive
         integration benefits from the Nixa Assets to Zone 10 customers . . . .”30 In reaching this
         conclusion, the Commission found that ARKMO and ITOs’ arguments that the
         Commission should treat the “roughly commensurate” standard as requiring that any
         costs of a facility should be distributed “roughly proportionate” to the usage of that
         specific facility were “contrary to Commission precedent and inconsistent with how costs
         are allocated within SPP.”31 Specifically, the Commission explained that it would be
         “impossible to square a proportionality requirement as argued for by ARKMO and the
         ITOs with the zonal rates as approved by the Commission in SPP.”32 The Commission

                27
                   Id. P 65 (noting that the City of Nixa no longer owns the Nixa Assets, did not
         own them at the time it joined SPP, and will pay for a portion of the cost of these assets
         like other Zone 10 members).
                28
                     Id.
                29
                     Id. PP 99, 101.
                30
                    Id. P 101 (discussing the Commission’s “long-standing policy of rolling in the
         costs of networked transmission facilities into rates—including the types of zonal rates at
         issue here—because ‘the transmission network is a single interconnected system serving
         and benefiting all transmission customers and it is this interconnected nature that makes
         for a reliable system consistently providing for the delivery of electric energy to all
         customers.’” (quoting City of Anaheim, 113 FERC ¶ 61,091, at P 34 (2005))); see also id.
         P 102.
                31
                     Id. P 103.
                32
                   Id. (“[S]uch a requirement would require a demonstration that any facility
         provides all other customers in a zone with benefits proportionate to their load-ratio share
         before its costs could be included in zonal rates, a nearly impossible task and contrary to
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         further stated that it did not read “the Seventh Circuit decisions in ICC I and ICC II or the
         D.C. Circuit’s decision in ODEC as requiring any such proportionality finding,”33 but
         even if one were to read them as such, these decisions do not necessarily apply to zonal
         placement decisions such as this one.34

         11.    Finally, the Commission affirmed the Presiding Judge’s dismissal of the
         alternative rate proposals made by intervenors.35 The Commission concluded that,
         having affirmed the Presiding Judge’s finding that SPP’s proposal is just and reasonable,
         it “need not consider whether the proposal is more or less reasonable than other
         alternatives.”36

         II.    Request for Rehearing

         12.     On rehearing, ARKMO and ITOs argue that the Commission erred in affirming
         the Initial Decision because the Commission should have directed its focus specifically to
         the non-City of Nixa transmission customers in comparing the impacts of the cost shift
         and any benefits of including the Nixa Assets in Zone 10.37 They state that the
         Commission was required to undertake a “rough proportionality” analysis to determine
         whether the costs that the non-City of Nixa customers would pay for the Nixa Assets




         the purpose of zonal rates in the first place.”).
                33
                   Id. (citing Midwest Indep. Transmission Sys. Operator, Inc.,
         137 FERC ¶ 61,074, at P 121 (2011) (MISO) (finding that the Seventh Circuit did not
         require a utility-by-utility cost benefit analysis), aff’d in part Ill. Commerce Comm’n v.
         FERC, 721 F.3d 764, 774 (7th Cir. 2013) (ICC III)); see also Ill. Commerce Comm’n v.
         FERC, 576 F.3d 470 (7th Cir. 2009) (ICC I); Ill. Commerce Comm’n v. FERC, 756 F.3d
         556 (7th Cir. 2014) (ICC II); Old Dominion Elec. Coop., 898 F.3d 1254, 1260-63 (D.C.
         Cir. 2018) (ODEC).
                34
                  Order on Initial Decision, 182 FERC ¶ 61,141 at P 103 (citing Initial Decision,
         177 FERC ¶ 63,021 at P 167; Neb. Pub. Power Dist. v. FERC, 957 F.3d 932, 941 (8th
         Cir. 2020) (NPPD v. FERC)).
                35
                     Id. P 115.
                36
                     Id.
                37
                  See, e.g., Rehearing Request at 1-4, 6-7 (arguing that the costs fall
         disproportionately on the non-City of Nixa customers whereas the benefits of the Nixa
         Assets accrue primarily or exclusively to the City of Nixa); id. at 28-44.
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         were proportionate to the benefits they receive from those assets, but did not do so.38
         They contend that the “rough proportionality” requirement is not impossible to
         implement or inconsistent with SPP’s existing zonal rate construct39 and that the Order on
         Initial Decision misunderstood controlling precedent—particularly ICC I, ICC II, and
         ODEC—in concluding that those cases did not mandate this rough proportionality
         requirement and, in any event, did not apply to this sort of zonal placement proposal.40

         13.    ARKMO and ITOs further urge that the cost shift must be viewed not in terms of
         the $1.8 million ATRR of the Nixa Assets that would be included in the aggregate
         Zone 10 ATRR, but instead in terms of the percentage of the costs for those assets that
         would be borne by the non-City of Nixa customers because the City of Nixa is the
         “beneficiary” rather than the “victim” of the cost shift.41 Relatedly, ARKMO and ITOs
         contend that such a proportionality analysis is a more useful metric to weigh costs and
         benefits than comparing the cost shift in nominal dollar terms to non-monetized benefits
         of including the Nixa Assets in Zone 10.42

         14.    ARKMO and ITOs also argue that the Commission should have adopted their
         “rough proportionality” approach to the “roughly commensurate” standard and examined
         how the benefits of the Nixa Assets, as compared to their costs, accrue to the City of Nixa
         versus non-City of Nixa customers.43 In particular, they argue that the various benefits

                38
                     Id. at 9, 14-25.
                39
                     Id. at 15-18.
                40
                  Id. at 18-25 (arguing that comparison of costs and benefits are foundational
         principles of cost causation and that a customer-specific analysis is required; that the
         Eighth Circuit’s decision in NPPD v. FERC and the Commission’s decision in MISO
         support rejection of SPP’s proposal here; and that “rough” proportionality rather than
         precision is all that is required).
                41
                   See id. at 8, 11-14 (arguing that while the City of Nixa’s Zone 10 transmission
         rates will go up as a result of including the Nixa Assets in Zone 10, its overall costs will
         go down).
                42
                   See id. at 26-28 (also arguing that the Commission should have considered that
         the rate impact of adding the Nixa Assets is substantial).
                43
                     See id. at 31-32 (“The subsequent errors of the Order stem largely from that first
         error . . . . We do not repeat here the above discussion of why the Order was wrong to
         rely on benefits to Nixa as a basis for allocating costs to Non-Nixa Zone 10 Customers.
         Instead we explain why the Order’s weighing of costs and benefits is incorrect under a
         proper application of the roughly commensurate standard.”).
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         from including the Nixa Assets in Zone 10 identified in the Initial Decision (and affirmed
         in the Order on Initial Decision) cannot justify accepting SPP’s zonal placement proposal
         because those benefits accrue disproportionately to the City of Nixa and do not
         sufficiently benefit non-City of Nixa Zone 10 customers.44 More specifically, ARKMO
         and ITOs assert that the integration benefits accrue primarily or solely to the City of
         Nixa, to the extent they exist; that non-City of Nixa customers receive only limited
         reliability benefits from the Nixa Assets that do not justify assigning them the costs of
         those assets; that any power transfer benefits accrue almost entirely to the City of Nixa;
         and that the Commission failed to require quantification of the benefits of the Nixa Assets
         or did not consider evidence of the quantification of the benefits associated with the Nixa
         Assets.45 Finally, ARKMO and ITOs urge that there are policy reasons for adopting their
         proportionality requirement, including ensuring there are proper incentives for
         transmission owners to join SPP.46

         III.   Discussion

         15.     ARKMO and ITOs’ arguments on rehearing center around their claim that a cost
         shift associated with a zonal placement decision under SPP’s Tariff cannot be just and
         reasonable unless each customer (or group of customers)47 that will bear some portion of
         the costs of those assets (or group of assets) is deriving a benefit from those specific
         assets that is “roughly proportionate” to those costs.48 In fact, they argue that ensuring

                44
                   See id. at 9-10; see id. at 28-46. ARKMO and ITOs also argue that GridLiance
         and SPP failed to quantify the benefits of the Nixa Assets and that ARKMO’s efforts to
         quantify the benefits of those assets reflects that those benefits accrue disproportionately
         to the City of Nixa. See id. at 46-47.
                45
                     See id. at 28-46.
                46
                  See id. at 47-49 (also reiterating ARKMO and ITOs’ view that the
         proportionality standard is important to ensure cost causation).
                47
                  As discussed further below, here, ARKMO and ITOs focus on the “non-Nixa
         customers,” but the same arguments ARKMO and ITOs make regarding cost causation
         would readily apply to considering smaller subsets of the non-City of Nixa Zone 10
         customers or individual Zone 10 customers. Similarly, their proportionality proposal
         would also require assessing the benefits of specific transmission assets rather than a
         group of assets.
                48
                  See Rehearing Request at 10 (issue statement asserting that “[i]t was error to
         conclude that a proportionality analysis, or some other kind of comparative analysis, is
         not required to determine whether a cost shift meets the roughly commensurate
         standard”); see also, e.g., id. at 2 (“[T]he Commission never even addressed whether the
         Non-Nixa Zone 10 Customers are receiving benefits roughly commensurate to their
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         this requirement is satisfied is the “only meaningful way” to satisfy cost causation when
         assessing a cost shift related to a zonal placement of transmission assets, and that the
         Commission erred by failing to adopt this approach.49 And ARKMO and ITOs further
         argue that this first supposed error—that the Commission did not apply this rough
         proportionality requirement—led the Commission to reach an erroneous determination as
         to whether the costs and benefits of the Nixa Assets support their inclusion in Zone 10.50
         While we refer below to this proposed requirement as “rough proportionality” for the
         sake of concision, we note that this label fails to capture the full gist of ARKMO and
         ITOs’ argument.51 Instead, ARKMO and ITOs seek to apply an asset-level, beneficiary-
         pays rough proportionality requirement.52

         16.    We disagree with ARKMO and ITOs’ view that rough proportionality is the only
         appropriate way to approach cost causation under SPP’s zonal placement process and we
         sustain the Commission’s decision not to adopt this requirement in this case. ARKMO
         and ITOs’ approach does not square with the existing zonal rate construct under the SPP
         Tariff. Under that construct, a transmission customer taking network service shall pay a
         monthly demand charge for the SPP Pricing Zone where the load is located.53 The


         allocated share of costs . . . .”); id. at 8 (“[T]he Non-Nixa Zone 10 Customers receive
         little to no benefit from the Nixa Assets . . . .”); id. at 19.
                49
                  Id. at 14 (asserting that “[r]ough proportionality is the only meaningful way to
         view cost causation” in this context; “rough proportionality is required”).
                50
                     See supra P 14 & note 43.
                51
                   With this in mind, ARKMO and ITOs’ argument that “commensurate” and
         “proportionate” are synonyms, see Rehearing Request at 19, is irrelevant because their
         rhetorical labelling of their test as a “rough proportionality” requirement does not fully
         and accurately capture the nature of the requirement they propose.
                52
                   See id. at 14 (“Here the Commission is mistakenly requiring Non-Nixa Zone 10
         Customers to pay [for the Nixa Assets] proportionate to ‘population’ (load), rather than
         ‘use’ (benefits)”); id. at 16 (urging that SPP should address the Nixa Assets through a
         construct in which it would “put[ ] a new TO into an appropriate pre-existing zone, but
         creat[e] a subzonal rate for the legacy asset costs that only the load for which the legacy
         assets were built would pay”); id. at 22 (arguing that, on these facts a “customer-specific
         analysis” is required); ITO Brief on Exceptions at 5 (“SPP’s rate proposal must be
         rejected, without prejudice to SPP submitting a revised rate proposal to fully recover
         GHP’s ATRR from the customers that benefit from the Nixa Assets . . . .”); id. at 28.
                53
                     See SPP, Tariff, Schedule 9 (9.0.0).
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         amount of this demand charge is “determined by multiplying [the customer’s] Load Ratio
         Share times one twelfth (1/12) of the Zonal [ATRR]” less certain amounts.54

         17.     As evident in this formula/calculation, SPP’s zonal rate construct does not attempt
         to measure each transmission customer’s benefit from each transmission asset included in
         the zonal ATRR. Nor does it charge each customer transmission costs on an asset-by-
         asset basis. Instead, under that zonal construct, the costs and benefits associated with
         network service in a zone are assessed on an aggregate level, with each customer paying
         for transmission service based on its load ratio share, which reflects its total use of the
         aggregate assets in the zone.55 Even if a customer does not benefit from a particular
         transmission asset in a manner roughly commensurate with its load ratio share, this does
         not demonstrate that the customer is not overall receiving roughly commensurate benefits
         from the transmission assets within the zone as compared to the zonal rates it is paying
         under SPP’s Tariff.56

         18.   Consistent with this approach, SPP’s Tariff delineates zones in terms of “[t]he
         geographic area of the facilities of a Transmission Owner or specific combination of
         Transmission Owners as specified in Schedules 7, 8, and 9 [of the Tariff].”57 Nothing in
                54
                     See id. pt. III, § 34.1 (3.0.0).
                55
                    See id. (reflecting that the zonal costs of the transmission system are
         apportioned based on load ratio share, which reflects a customer’s total use of the zonal
         transmission system). This approach is consistent with the Commission’s longstanding
         policy of rolling in the costs of networked transmission facilities into rates. See Order on
         Initial Decision, 182 FERC ¶ 61,141 at P 101; So. Co. Servs., Inc., 116 FERC ¶ 61,247, at
         PP 17-18 (2006) (explaining that rolled-in pricing is appropriated when the relevant
         facilities are integrated into the network because, “as part of the network, the added
         facilities benefit all users of the network,” and that the Commission has “repeatedly
         affirmed that a showing of any degree of integration suffices for a facility to be a network
         facility”).
                56
                   So, like ARKMO, the City of Nixa has been paying for network service based
         on the costs of the Zone 10 transmission system as a whole according to its load ratio
         share, irrespective of whether or to what extent it benefits from any particular
         transmission asset within that system.
                57
                   SPP, Tariff, pt. I, § 1, Definition XYZ (2.0.0) (definition of “Zone”); see also
         Sw. Power Pool, Inc., 89 FERC ¶ 61,284, at 61,889 (1999) (approving SPP’s use of zonal
         rates, under a proposal in Docket No. ER99-4392, containing an identical definition of
         “Zone”). As to Zone 10 in particular, we note that the record does not reflect that each
         customer in Zone 10 derives benefits from each of the existing transmission facilities in
         that zone that are roughly proportionate to that customer’s load ratio share.
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         this definition suggests that zones are defined to ensure that every customer or customer
         group in a zone benefits from every particular transmission asset or set of assets in that
         zone in rough proportion to its load ratio share. Indeed, we cannot see how this could be
         accomplished short of delineating zones based on how each asset is used,58 which would
         effectively eliminate SPP’s zonal rate construct.59

         19.     Put another way, ARKMO and ITOs presume that SPP’s zonal rate construct
         contemplates a specific transmission customer (or groups thereof) paying for each
         specific transmission facility included in the zonal ATRR in proportion to its usage of
         that facility. But ARKMO and ITOs’ premise is inconsistent with the zonal rate
         construct in SPP’s Tariff. In other words, ARKMO and ITOs are seeking a
         fundamentally different cost allocation approach for the Nixa Assets, under which the
         costs of the Nixa Assets would be assigned proportionate to the particular usage of those
         assets by specific transmission customers or groups of customers, than is prescribed by
         SPP’s zonal rate construct. We are not persuaded that, in considering SPP’s zonal
         placement proposal, we must apply a “proportionality requirement” that amounts to a
         new cost allocation method60 that is inconsistent with the zonal rate construct that is used
         for all of the other assets already included in the Zone 10 ATRR.

         20.    In addition, adopting ARKMO and ITOs’ “proportionality requirement” for the
         Nixa Assets would not result in evenhanded treatment of the Nixa Assets as compared to
         transmission assets already included in the zonal ATRR without applying this
         requirement.61 Under SPP’s zonal rate construct, transmission customers taking network


                58
                  That only “rough” proportionality would be required under this approach,
         Rehearing Request at 15-16, 23-24, does not remedy this concern given the number of
         permutations as to how different transmission customers may benefit from different
         assets.
                59
                    See Order on Initial Decision, 182 FERC ¶ 61,141 at P 103 (“As SPP points out
         in its brief, such a requirement would require a demonstration that any facility provides
         all other customers in a zone with benefits proportionate to their load-ratio share before
         its costs could be included in zonal rates, a nearly impossible task and contrary to the
         purpose of zonal rates in the first place.”); SPP Brief Opposing Exceptions at 52-53
         (“Indeed, for the ITOs’ and ARKMO Cities’ construction of the roughly commensurate
         standard to be true, the ITOs’ own zonal rates would unravel.” (citation omitted)).
                60
                   See, e.g., Rehearing Request at 16 (arguing that SPP would still have “rate
         options” to address the Nixa Assets, and particularly that it could “create[ ] a subzonal
         rate” for such assets).
                61
                  Failure to provide such evenhanded treatment might discourage transmission
         owners from deciding to participate in SPP. See Regional Transmission Orgs., Order No.
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         service in a zone—as the City of Nixa has—shoulder the costs of transmission assets
         already included in the zonal ATRR on a load ratio share basis, thereby bearing a portion
         of the costs for those assets, irrespective of the extent to which those transmission
         customers use each of those particular assets. ARKMO and ITOs have not demonstrated
         why the Nixa Assets should be subject to a more stringent “proportionality requirement”
         than other transmission assets previously included in the zonal ATRR.62

         21.    ARKMO and ITOs argue that their proportionality requirement is consistent with
         SPP’s zonal rate construct because, like zonal rates, the proportionality requirement is a
         means of addressing cost shifts.63 However, this argument ignores that zonal rates and
         the proportionality requirement approach the distribution of costs (and, therefore,
         avoiding unjust and unreasonable cost shifts) in fundamentally different and conflicting
         ways, as explained above. Moreover, that the Commission stated in Order No. 2000 that
         “problems associated with cost-shifting are not easily resolved by means other than the
         use of license plate rates”64 does not support a different result here given that we have
         explained that ARKMO and ITOs’ preferred allocation approach is inconsistent with
         SPP’s existing zonal rate construct reflected in the Tariff.65


         2000, FERC Stats. & Regs. ¶ 31,089, at 31,028 (1999) (cross-referenced at 89 FERC ¶
         61,285), order on reh’g, Order No. 2000-A, FERC Stats. & Regs. ¶ 31,092 (2000) (cross-
         referenced at 90 FERC ¶ 61,201), aff’d sub nom. Pub. Util. Dist. No. 1 of Snohomish Cty.
         v. FERC, 272 F.3d 607 (D.C. Cir. 2001) (noting the Commission’s view that “as a matter
         of policy, we should strongly encourage transmission owners to participate voluntarily in
         RTOs”).
                62
                  ITOs’ assertion that Southwestern built its facilities to serve all of its load,
         including the City of Nixa, ITOs Brief on Exceptions at 87-89, implies that applying the
         “proportionality requirement” as they propose results in evenhanded treatment of the
         Nixa Assets. However, ITOs do not suggest that the transmission facilities that the City
         of Nixa is paying for under the zonal rate construct would meet the rough proportionality
         requirement that is ITOs’ proposed basis for excluding the Nixa Assets from Zone 10.
         See infra P 21 note 68.
                63
                  Rehearing Request at 16 (citing SPP, Proposal for Recognition as Independent
         System Operator and Regional Transmission Organization, Docket No. EL00-39-000, at
         15 n.36 (filed Dec. 30, 1999) (SPP RTO Proposal)).
                64
                  Order No. 2000, FERC Stats. & Regs. ¶ 31,089, at 31,177. In the cited portion
         of the SPP RTO Proposal, see supra note 63, SPP was quoting this portion of Order No.
         2000.
                65
                 Put differently, arguing that SPP’s zonal rate construct and a proportionality
         requirement both might (in different ways) help address cost shifts does not change that
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         22.    ARKMO and ITOs also attempt to align their proposed proportionality
         requirement with SPP’s zonal rate construct by arguing that RTO zones will be ordinarily
         configured to allocate the costs of transmission facilities to the customers for whom they
         were constructed.66 We agree that, in a typical case, we expect that a transmission asset
         should be included in the same zone as the customers for whom they were constructed
         and continue to serve.67 But this principle does not establish that zones generally, or SPP
         Pricing Zones in particular, have been or must be constructed to ensure that each
         customer benefits from each asset in the zone in rough proportion to the costs it pays for
         that specific asset, or that new assets that may be included in a zone must meet such a
         requirement.68

         23. Precedent governing principles of cost causation supports our conclusion that
         ARKMO and ITOs’ proportionality requirement is not, in fact, required.69 In ICC III, the

         these are two opposed approaches to cost allocation, the former of which eschews the
         analysis of the usage of particular assets on which the latter depends. Cf. supra P 18
         (explaining that applying ARKMO and ITOs’ rough proportionality requirement to zonal
         rates would require delineating zones on the level of how individual assets are used,
         which would amount to undermining the zonal rate construct).
                66
                  Rehearing Request at 16 (citing PJM Interconnection, L.L.C., Opinion No. 494,
         119 FERC ¶ 61,063, at P 42 (2007), reh’g denied, Opinion No. 494-A, 122 FERC
         ¶ 61,082 (2008), remanded on other grounds by ICC I, 576 F.3d 470).
                67
                   Opinion No. 494, 119 FERC ¶ 61,063 at P 42 (“It is therefore consistent with
         principles of cost causation to continue to allocate the costs of these facilities to the
         customers for whom they were constructed and whom they continue to serve to date.”);
         see also id. PP 48-56 (reversing an initial decision that found that zonal rates were unjust
         and unreasonable because some transmission assets provided benefits beyond the zone
         that would pay for their costs). Consistent with this principle, placing the Nixa Assets in
         Zone 10 ensures that the City of Nixa will continue to bear a portion of the costs for those
         assets.
                68
                   See supra PP 16-19 (explaining that SPP’s zonal cost construct takes an
         opposing approach). For similar reasons, ARKMO and ITOs’ citation to Tri-State in
         connection with their argument that Southwestern “planned and built its facilities to serve
         all load in the zone, including Nixa” but that the City of Nixa facilities were not built for
         every customer in Zone 10, Rehearing Request at 17-18, does not address the
         inconsistency between a proportionality requirement and SPP’s zonal rate construct. See
         id.; see also supra P 18 note 57; cf. Order on Initial Decision, 182 FERC ¶ 61,141 at PP
         100-01 (recognizing how the facts in Tri-State were distinguishable from this case).
                69
                     See Order on Initial Decision, 182 FERC ¶ 61,141 at P 103 & nn.304-05.
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         U.S. Court of Appeals for the Seventh Circuit upheld the Commission’s acceptance70 of a
         pro rata regional cost allocation for “multi-value projects.”71 It did so notwithstanding
         that “[n]one of [the] eligibility criteria ensures that every utility in MISO’s vast region
         will benefit from every [multi-value project], let alone in exact proportion to its share of
         the [multi-value project] tariff” and despite arguments that the Commission “fail[ed] to
         determine the costs and benefits of the projects subregion by subregion and utility by
         utility.”72 Likewise, and contrary to ARKMO and ITOs’ suggestion that NPPD v. FERC
         favors their position,73 the Eighth Circuit in that case upheld a zonal placement decision
         without requiring a demonstration that the facilities at issue benefitted existing customers
         in the zone proportionate to their load ratio share.74

         24.     We are also not persuaded by ARKMO and ITOs’ argument that the Order on
         Initial Decision erred in concluding that ICC I, ICC II, and ODEC did not mandate that
         zonal placement proposals be assessed according to the sort of asset-level proportionality
         requirement that ARKMO and ITOs advocate.75 In ICC I and ICC II, the Seventh Circuit
         was reviewing the Commission’s determination that PJM Interconnection, L.L.C. (PJM)
         was required to change the cost allocation requirements for new high-voltage facilities
         from its previous zonal (license plate) rate design and approving a region-wide pro rata
         (postage stamp) rate design.76 The court held that although the Commission need not
         “calculate benefits to the last penny, or for that matter to the last million or ten million or
         perhaps hundred million dollars,” the Commission had failed to establish that the pro rata
         rate design it approved would comport with the requirement that utilities in the region
         derived benefits from the transmission system that were “roughly commensurate” with

                70
                  See Midwest Indep. Trans. Sys. Operator, Inc., 137 FERC ¶ 61,074, at P 121
         (2011) (finding that the Seventh Circuit in ICC I did not require a utility-by-utility cost
         benefit analysis).
                71
                     ICC III, 721 F.3d at 773.
                72
                     Id. at 774.
                73
                     See Rehearing Request at 20, 23-24.
                74
                     957 F.3d at 941.
                75
                   See Rehearing Request at 18-25; Order on Initial Decision, 182 FERC ¶ 61,141
         at P 103 (explaining that the Commission did “not view the Seventh Circuit decisions in
         ICC I and ICC II or the D.C. Circuit’s decision in ODEC as requiring any such
         proportionality finding” and that, regardless, “[t]hose decisions do not necessarily apply
         to zonal placement decisions such as this one”)).
                76
                     See ICC I, 576 F.3d at 474; Opinion No. 494, 119 FERC ¶ 61,063 at PP 1, 4.
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         their costs.77 The court did not suggest, let alone mandate, a facility-level, beneficiary-
         pays proportionality requirement to ensure principles of cost causation were satisfied.
         Moreover, neither ICC I nor ICC II addressed an argument that the Commission must
         adopt such a requirement for zonal placement; our decision here necessarily conforms to
         the particular requirements of SPP’s zonal rate construct.

         25.     Similarly, we disagree that ODEC supports ARKMO and ITOs’ argument. There,
         the D.C. Circuit set aside the Commission’s approval of an amendment to PJM’s tariff
         that eliminated regional cost allocation for high-voltage transmission lines included in
         PJM’s regional transmission plan to satisfy individual utilities’ planning criteria.78 The
         court did so because the amendment prohibited regional cost allocation “for all projects
         included in the regional plan only to satisfy the planning criteria of individual utilities—
         including for high-voltage lines” even though it was “undisputed [that] high-voltage
         power lines produce significant regional benefits,” thereby “produc[ing] a severe
         misallocation of the costs of those projects.”79 The court in ODEC did not, however,
         require that the Commission adopt a facility-level “beneficiary pays” approach, like
         ARKMO and ITOs’ proportionality requirement, to address this concern or suggest that
         SPP’s zonal rate construct (which does not involve such a facility-level analysis of costs
         and benefits) is impermissible. In fact, the ODEC court explicitly recognized the
         narrowness of its holding.80 In short, as the Order on Initial Decision explained, nowhere

                77
                   See ICC I, 576 F.3d at 477; see also id. at 475 (noting that the “objections to the
         Commission’s ruling pivot[ed] on an asymmetry” in the types of assets used in different
         areas of the PJM region, with relatively low-voltage transmission facilities in the west of
         the PJM region, and relatively high voltage facilities in the east of the PJM region); ICC
         II, 756 F.3d at 561 (explaining that the court was not holding “that postage-stamp pricing
         is appropriate only for the postal service” but rather that the Commission had, in its order
         following remand, still failed to establish that this postage stamp design would meet the
         “roughly commensurate” standard based on the facts in the record).
                78
                  See ODEC, 898 F.3d at 1256-57, 1264 (explaining that the amendment instead
         required that the costs of those projects be borne by the local zone of the transmission
         owner that filed the planning criteria); see also id. at 1255. The court also set aside two
         Commission orders applying this amended approach. See id. at 1257-59, 1264.
                79
                   Id. at 1260-61 (discussing the Elmont-Cunningham project as an illustration of
         how the amendment to PJM’s tariff would result in such a misallocation of the costs of
         that project) (emphasis in original).
                80
                  See id. at 1263-64 (“[W]e hold only that FERC did not adequately justify its
         approval of the amendment at issue here, which prohibited cost sharing for a category of
         high-voltage projects conceded to have significant regional benefits, and which did so
         only because those projects reflected the planning criteria of individual utilities”); cf. also
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         do ICC I, ICC II, or ODEC mandate a facility-level proportionality requirement of the
         sort ARKMO and ITOs suggest as a general matter, and particularly did not do so in the
         context of zonal placement of transmission assets.

         26.     In the Order on Initial Decision, the Commission also rejected arguments that the
         cost shift associated with the Nixa Assets must be measured in terms of the costs of the
         Nixa Assets that will be paid by non-City of Nixa customers, and instead affirmed the
         Presiding Judge’s finding that the cost shift at issue was the proposed $1.8 million ATRR
         for the Nixa Assets.81 We sustain this conclusion. It is not contested that the City of
         Nixa had divested the Nixa Assets and converted to SPP’s network service prior to
         inclusion of the Nixa Assets in Zone 10.82 Nor do ARKMO and ITOs’ arguments on
         rehearing casting the City of Nixa as a “beneficiary” and non-City of Nixa customers as
         “victims” of the cost shift83 change the facts of this case: including the Nixa Assets in
         Zone 10 will result in a $1.8 million increase in the zonal ATRR, a portion of which will
         be borne by the City of Nixa based on its load ratio share under SPP’s existing Tariff.84
         Under these circumstances, considering the cost shift in terms of the $1.8 million ATRR
         of the Nixa Assets ensures that we do not take an incomplete view of the impacts of
         placing the Nixa Assets in Zone 10 by focusing only on how including the assets in Zone
         10 impacts the non-City of Nixa customers. Considering the full picture of the costs and
         benefits of the Nixa Assets to all Zone 10 customers is also consistent with SPP’s zonal
         rate construct, which does not evaluate the costs and benefits of transmission assets in a



         Long Island Power Auth., 27 F.4th at 714 (recognizing the narrow nature of the holding
         in ICC II, explaining that this case did not require a cost-benefit analysis to quantify
         project benefits).
                81
                   See Order on Initial Decision, 182 FERC ¶ 61,141 at PP 29-30. Contrary to
         ARKMO and ITOs’ argument, the Commission did not determine that “no justification
         [for the cost shift at issue here] would be required.” Rehearing Request at 13. The
         Commission in the Order on Initial Decision weighed the costs and benefits of including
         the Nixa Assets in Zone 10 and evaluated the whole picture of the cost impact of
         including the Nixa Assets in Zone 10.
                82
                     Order on Initial Decision, 182 FERC ¶ 61,141 at P 30.
                83
                     Rehearing Request at 10-13.
                84
                   While we recognize that the remainder of the costs of the Nixa Assets, as
         incorporated into the zonal ATRR, will be borne by non-City of Nixa customers based on
         each of their load ratio shares, we need not restrict our analysis to consider the cost shift
         only in these terms.
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         zone at the level of how individual customers use each of those assets, as explained
         above.

         27.    Having sustained the Commission’s determination that ARKMO and ITOs’
         proportionality requirement is inconsistent with SPP’s existing zonal rate construct, we
         also reject ARKMO and ITOs’ arguments on rehearing that depend on the application of
         such a requirement.85 Thus, we are not persuaded by ARKMO and ITOs’ arguments that
         the Order on Initial Decision must be reversed because non-City of Nixa customers do
         not accrue benefits specifically from the Nixa Assets sufficient to meet this
         proportionality requirement.86 Likewise, we reject the argument that the Commission
         should have considered whether this proportionality requirement was met rather than (or
         in addition to) comparing the $1.8 million cost shift to the non-monetized benefits of the
         Nixa Assets.87

         28.     ARKMO and ITOs also argue that the benefits of the Nixa Assets were not
         sufficiently quantified and that, to the extent they were quantified, that quantification
         reflects that the Nixa Assets do not provide proportionate benefits to the non-City of Nixa
         customers.88 We are not persuaded by these arguments, for the reasons stated in the
         Order on Initial Decision89 and because, as explained above, ARKMO and ITOs’
         arguments focusing on the extent to which they derive benefits specifically from the Nixa
         Assets are inconsistent with SPP’s zonal rate design. Moreover, the Order on Initial

                85
                  We further sustain the Commission’s conclusions as to the benefits associated
         with the Nixa Assets and the Commission’s comparison of those benefits versus the costs
         of placing the Nixa Assets in Zone 10. See Order on Initial Decision, 182 FERC
         ¶ 61,141 at PP 64-73, 99-102.
                86
                   See Rehearing Request at 28-47; see also supra P 14 & note 43 (noting
         ARKMO and ITOs’ acknowledgment that these arguments are based on the application
         of their proposed proportionality requirement).
                87
                   See Rehearing Request at 26-28. For the reasons stated in the Order on Initial
         Decision, 182 FERC ¶ 61,141 at P 32, we also sustain the Commission’s determination
         that it was not necessary to rely on the rate impact evidence in the record.
                88
                   Rehearing Request at 46-47 (arguing that “the record does contain non-
         monetary quantification that establish that Non-Nixa Zone 10 Customers get almost no
         benefits from the Nixa Assets and yet will pay almost all costs”).
                89
                   Order on Initial Decision, 182 FERC ¶ 61,141 at PP 71-72 (explaining that the
         Commission has not required the showing of any particular benefit or quantification of
         benefits to support inclusion of transmission facilities in a zone); see also, e.g., Initial
         Decision, 177 FERC ¶ 63,021 at PP 131 & n.253, 154.
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         Decision relied principally on the extensive integration benefits from the Nixa Assets to
         Zone 10 customers,90 which we continue to find are not quantifiable.91 We also note that,
         contrary to ARKMO and ITOs’ arguments, the Commission did not ignore the record
         evidence that they identify as to the reliability benefits of the Nixa Assets.92

         29.     We also disagree with ARKMO and ITOs’ arguments that the Order on Initial
         Decision will create counterproductive incentives for transmission owners with low-cost
         facilities not to join SPP and for transmission owners with high-cost facilities to join
         SPP.93 We have previously rejected similar arguments in the ITOs Complaint Order, and
         find the arguments that ARKMO and ITOs raise here unpersuasive for similar reasons.94
         Moreover, as to ARKMO and ITOs’ proposed proportionality requirement in particular,
         these policy arguments do not remedy the inconsistency between this proposal and SPP’s
         zonal rate construct.95


                90
                  See Order on Initial Decision, 182 FERC ¶ 61,141 at PP 67-68, 70, 101-102
         (summarizing those benefits and finding they are roughly commensurate with the costs of
         the Nixa Assets to the Zone 10 customers). Contrary to ARKMO and ITOs’ claim, the
         Commission did not rely on SPP’s unfiled Zonal Placement Process in concluding that
         those benefits would accrue to Zone 10 customers. See Rehearing Request at 37-39.
                91
                  On rehearing, ARKMO and ITOs do not explain what further quantification of
         such integration benefits would be possible or necessary.
                92
                     See Order on Initial Decision, 182 FERC ¶ 61,141 at PP 42, 65, 69.
                93
                  Rehearing Request at 47-49 (also arguing that failing to adopt a proportionality
         requirement creates a standard for assessing zonal placement proposals that is too
         permissive).
                94
                   ITOs Complaint Order, 162 FERC ¶ 61,213 at P 72 (noting, among other things,
         that there are powerful, preexisting incentives to join RTOs regardless of cost shifting,
         and the effects of any cost shift are just one of many factors that an entity would consider
         in deciding whether to join an RTO).
                95
                   ARKMO and ITOs’ suggestion that the Order on Initial Decision erred in
         accepting SPP’s proposal under the law of the case doctrine, see, e.g., Rehearing Request
         at 6-7 (arguing that the Commission previously determined that the evidence in the initial
         filing and first hearing did not show that the inclusion of the Nixa Assets in Zone 10 was
         just and reasonable and that the second hearing merely validated that same result), is also
         without merit. The Commission observed in the Remand Order that the issue of the cost
         shift, and particularly the benefits of inclusion of the Nixa Assets “was not thoroughly
         briefed because many of the parties argued that the cost shift issue was outside the scope
         of the proceeding.” 174 FERC ¶ 61,116 at P 41; see also Remand Rehearing Order,
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         The Commission orders:

               In response to the request for rehearing, the Order on Initial Decision is hereby
         modified and the result sustained, as discussed in the body of this order.

         By the Commission.

         (SEAL)




                                                       Debbie-Anne A. Reese,
                                                         Deputy Secretary.




         175 FERC ¶ 61,235 at P 31 (noting that “the Commission did not rule on the merits of the
         proposed Tariff revisions or the Settlement itself”). This issue has now been addressed at
         length by the parties in the record and the Presiding Judge in the Initial Decision, and we
         make our decision on the basis of the record and briefing now before us.
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